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 (12) United States Patent                                                          (10) Patent No.:                      US 9.530,282 B2
        Graboyes Goldman et al.                                                     (45) Date of Patent:                            Dec. 27, 2016
 (54) VIDEO GAME GAMING SYSTEM                                                 (56)                         References Cited
 (71) Applicant: GAMECO, INC., Upper Black Eddy,                                                      U.S. PATENT DOCUMENTS
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 (72) Inventors: Blaine Joshua Graboyes Goldman,                                         6,165,070    A     12/2000    Nolte et al.
                 Upper Black Eddy, PA (US); Mark                                         6,524, 184   B1     2/2003    Lind et al.
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                 Nicely, Daly City, CA (US)                                                                    (Continued)
 (73) Assignee: GAMECO, INC., Upper Black Eddy,                                                FOREIGN PATENT DOCUMENTS
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 (*) Notice:          Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                                          OTHER PUBLICATIONS
                      U.S.C. 154(b) by 0 days.
                                                                               PCT/US2016/032742 International Search Report and Written
 (21) Appl. No.: 15/155,969                                                    Opinion dated Jul. 27, 2016.

 (22) Filed:          May 16, 2016                                             Primary Examiner — Steven J Hylinski
                                                                               (74) Attorney, Agent, or Firm — Wilson, Sonsini,
 (65)                     Prior Publication Data                               Goodrich & Rosati
        US 2016/0343211 A1                Nov. 24, 2016                        (57)                           ABSTRACT
                                                                               Described are methods, systems, and media for adapting
             Related U.S. Application Data                                     single player games of skill to a gaming environment. This
                                                                               game gaming comprises: accepting, through the gaming
 (60) Provisional application No. 62/163,179, filed on May                     machine, initiation of play by a player, providing one or
      18, 2015.                                                                more games of video game skill, wherein a Playfield is
                                                                               chosen from a Playfield Selection Pool wherein the Playfield
 (51) Int. Cl.                                                                 is set to have a Maximum Available Payout and games are
        G06F 7700                    (2006.01)                                 chosen from that Playfield; evaluating and recording the
        G06F 9/00                    (2011.01)                                 results of the play of the said game session in the said
        G07F 17/32                   (2006.01)                                 Playfield; presenting a Paytable to the player, wherein the
                                                                               Paytable comprises one or more lines of payouts based on a
 (52) U.S. Cl.                                                                 player's play results; evaluating and distributing any payout
        CPC ....... G07F 17/3262 (2013.01); G07F 17/3244                       earned according to the best play results and the Paytable:
               (2013.01); G07F 17/3295 (2013.01); G07F                         and managing the variance of Return To Player (RTP) of the
                                       17/326 (2013.01)                        Paytable, by adjusting selection weights of different Play
 (58) Field of Classification Search                                           fields presented to a player.
        CPC ................................................... GO7F 17/3295
        See application file for complete search history.                                         24 Claims, 24 Drawing Sheets



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                                     Fig. 1
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                                     Fig. 3




                                     Fig. 4
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                                        Fig. 9




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                                       Fig. 10




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                                         Fig. 12




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                                      Fig. 14
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                                      ig. 21
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                                      Fig. 22
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                                      Fig. 24
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                                      Fig. 26
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                                      Fig. 27
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                                      Fig. 28
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                                  Fig   29




                                                              !
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                                1.                                                                     2
             VIDEO GAME GAMING SYSTEM                                    traditional slot machines, and would be more attractive to
                                                                         both a younger audience uninterested in traditional slot
             CROSS-REFERENCE TO RELATED                                  machines and an older audience seeking something new to
                    APPLICATIONS                                         play. The VGM of the invention provides many advantages,
                                                                         Such as a dynamic game pace and engaging experience, and
    This application claims the benefit of U.S. Provisional              includes eSports gaming and related features, which is
  Application No. 62/163,179, filed May 18, 2015, which is               currently one of the fastest growing spectator sports. Some
  incorporated herein by reference in its entirety.                      embodiments of the invention described herein provide
                                                                         players with games, gaming methods and a gaming experi
             BACKGROUND OF THE INVENTION                            10   ence which is relatively easy to play yet also challenging to
                                                                         master. It is envisioned that the VGM of the invention would
    The majority (60%–75%) of U.S. casino revenue comes                  also have widespread appeal amongst gamers who love
  from slot machines; however, revenue from slot machines                Video games, crossing over multiple popular game genres.
  has been declining over the past decade. On the other hand,              Some embodiments of the invention are directed to com
  there are 112 million multiplayer gamers in the U.S. today.       15   puter-implemented methods, computer-implemented sys
  Video games generate S26 billion per year, rivaling a similar          tems, and non-transitory computer-readable storage media
  spend from fans of traditional sports. Casinos will benefit by         encoded with a computer program including instructions in
  offering new products that appeal to generations who've                code and data segments which are executable by a processor
  grown up playing Video games.                                          and upon execution thereof configured to provide a game of
     Casinos are undergoing a crisis as revenue from slot                chance in the computerized environment, which may
  machines continues to fall. Casinos are struggling to engage           include one or more data communication and display
  and retain a young audience. Most slot players are older               devices, wherein the size and/or nature of the payout within
  (above 50), while young people (below 40) don’t play slots             a game session can be influenced by the application of skill
  as they grew up playing interactive video games. Traditional           by one or more players.
  slot machine manufacturers are not keeping up with younger        25      In some embodiments, differing levels of skill exhibited
  players’ expectations for new games. Younger players who               during game play yield different eRTP (expected Return To
  grew up playing video games spend much less time in                    Player) without any payback compensation. In Such embodi
  casinos than the older players and are looking for a more              ments, the game system design parameters may be adjusted
  engaging product beyond traditional reel slot machines.                by the processor to affect the level of skill required for any
     The problem of retention of users of traditional gaming        30   given player to avoid any particular level of payback loss.
  machines lies in that they are less interactive and are based             In some other embodiments, the present invention is able
  on chance rather than skill, as interactive video games tend           to generate an alRTP (actual Return To Player) to be within
  to be. Current technologies fail to incorporate younger                a specific range of values over a specific number of games
  players interests in interactive games of skill with casino            to within a specific confidence level by employing the means
  machines. In particular, existing technologies fail to directly   35   to: (a) select or construct a Playfield for a given game
  combine a player's performance in a game of skill with the             session whose Maximum Available Payout, based on the
  payout.                                                                application of Optimal Skill, is less than the maximum
    Therefore, there is a need to provide means to increase              possible payout listed in the corresponding Paytable; (b)
  enjoyment and interactivity of gaming devices wherein                  increase payout during a game session based upon detection
  player skill input has a clear and obvious effect on player       40   of the use of Sub-Optimal Skill.
  payouts.                                                                  In some embodiments, the payout is based on a Key Score
                                                                         with respect to a Paytable which defines specific payout for
              SUMMARY OF THE INVENTION                                   specific Key Score values. In some embodiments, no payout
                                                                         is awarded unless a certain minimum Key Score was
     To increase enjoyment and interactivity of gaming              45   attained. A Key Score whose value is large enough to
  devices, among other things, embodiments of the video                  warrant a payout is called a Qualifying Key Score. In some
  game gaming machine (VGM) described herein may be                      embodiments, there is a different payout for each different
  played similarly to a traditional slot machine but with                Qualifying Key Score. In some embodiments, at least two
  features allowing the player to have greater control over the          Qualifying Key Scores results in the same payout. In some
  outcome of the game while still providing desirable               50   embodiments, where the Key Score is larger than required to
  expected Return To Player (eRTP) values. In some embodi                otherwise qualify for a payout, only the highest payout is
  ments, the VGM combines the feel of a traditional arcade               awarded. For example, in the case of a game where the final
  cabinet with a slot machine with a unique player experience            result is “4 ducks' and whose Paytable is comprised of the
  that brings a new element of skill to the casino floor.                prizes: (a) S5 prize for 5 ducks; (b) S2 prize for 4 ducks; and
     Embodiments of the invention described herein provide          55   (c) S1 prize for 3 ducks; only the S2 prize will be awarded
  various Solutions to reinvigorate slot revenue and bring the           even though “3 ducks' is a subset of a “4 ducks' result.
  next generation and a new audience to the casino with video               In one aspect, disclosed herein is a computer-imple
  game gaming. For example, one embodiment of the inven                  mented method of adapting games of skill into a gaming
  tion described herein is a VGM which facilitates gaming                machine, wherein the method balances player skill, game
  activities by employing popular video games on the casino         60   challenges, and random elements to map a probable series of
  floor. In some embodiments, the VGM is a single player                 outcomes for all players, the method comprising: accepting,
  experience that replaces traditional reel slot machines. In            through the gaming machine, initiation of play by a player;
  further embodiments, the VGM is a proprietary video game               providing, by the gaming machine, one or more single
  gaming machine which is configured to receive wagers from              player games associated with a plurality of game parameters
  players betting against the house while competing in mul          65   and having one or more features requiring the application of
  tiplayer video games. It is envisioned that the described              Video game skill by the player during game play thereof,
  VGM will ultimately increase revenues as compared with                 wherein the games are chosen from a Playfield Selection
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  Pool using a random number generator, comprising: a first              online role-playing game (MMORPG), a side view projec
  random number used to choose a Playfield from the Play                 tile game, a top view projectile game, quartering view
  field Selection Pool, wherein the Playfield is set to have a           projectile game, or a massively multiplayer online role
  Maximum Available Payout; and a second random number                   playing game, a matching game, a hidden object game, a
  used to choose a specific game session from the already                word finding game, a word construction game, a path game,
  chosen Playfield; evaluating and recording, by the gaming              a time-management game, a resource management game, a
  machine, the results of the play of the said game session in           plant growing game, an animal raising game, a shape
  the said Playfield; presenting, by the gaming machine, a               placing game, a pattern matching game, a rhythm matching
  Paytable to the player, wherein the Paytable comprises one             game, a memory game, a color completion game, a linking
  or more lines of payouts corresponding to play results;           10   game, a virtual fishing game, an animal simulation game,
  evaluating and distributing, by the gaming machine, any                and any Suitable game of skill. In some embodiments, the
  payout earned according to the best play results and the               gaming machine is configured to accept a player's bet that
  Paytable; and managing, through the gaming machine, the                a play result will be achieved during the game session. In
  variance of Return To Player (RTP) of the Paytable, by                 Some embodiments, the player makes extra bets during the
  adjusting selection weights of different Playfields presented     15   game based on the progress of the game. In some embodi
  to a player, wherein different Playfields relate to respective         ments, the player is provided with a single chance to achieve
  Maximum Available Payouts.                                             a specific Key Score during a game session. In some
     In some embodiments, the player plays the game via a                embodiments, the gaming machine awards the player addi
  game controller. In further embodiments, the game con                  tional time to complete the game session. In further embodi
  trolled comprises one or more of a gamepad, a paddle, a                ments, the said additional time awarded is based upon the
  joystick, a trackball, a throttle quadrant, a steering wheel, a        gaming machine determining, via evaluation of mid-game
  yoke, pedals, a keyboard, a mouse, a touch screen, a motion            progress, that the probability that the player earns less than
  sensor, a light gun, a rhythm game controller, a console               the Maximum Available Payout without said additional time
  game controller. In some embodiments, the gaming machine               is greater than a preset probability. In some embodiments,
  accepts initiation by two or more players, provides two or        25   the player plays in a practice mode with a small price
  more single-player game sessions, evaluates and records the            without betting or returns.
  results of the play of two or more game session, and                      In another aspect, disclosed herein is a computer-imple
  evaluates and distributes respective payouts to the two or             mented system for adapting games of skill into a gaming
  more players. In some embodiments, the managing of the                 machine by balancing player skill, game challenges, and
  Return To Player variance is based on one or more of:             30   random elements to map a probable series of outcomes for
  mid-game metrics, Key Scores, non-Key Scores, end-of                   all players, the system comprising: a gaming machine com
  game results, the difference between actual Maximum Avail              prising at least one processor, an operating System config
  able Payouts and actual payouts, and the difference between            ured to perform executable instructions, and a memory; a
  actual Maximum Attainable Key Scores and actual Key                    computer program including instructions executable by the
  Scores. In some embodiments, the Return To Player variance        35   at least one processor to create an application comprising: a
  is managed by adjusting one or more of selection weights               Software module configured to accept initiation of play by a
  of a of at least one a first prize from a first variable-prize         player, a software module configured to provide one or more
  selection pool, the frequency of a bonus award, the amount             single-player games associated with a plurality of game
  of time available within a Play Session, and the number of             parameters and having one or more features requiring the
  player actions available with a Play Session. In some             40   application of video game skill by the player during game
  embodiments, the adjusting of the Return To Player is                  play thereof, wherein the games are chosen from a Playfield
  applied to one or more of a current game in progress and a             Selection Pool using a random number generator, compris
  future game. In some embodiments, the gaming machine is                ing: a first random number used to choose a Playfield from
  a stand-alone unit. In some embodiments, the gaming                    the Playfield Selection Pool, wherein the Playfield is set to
  machine is connected to a central server system from which        45   have a Maximum Available Payout; and a second random
  random results are generated and communicated to the                   number used to choose a specific game session from the
  gaming machine. In some embodiments, the Maximum                       already chosen Playfield; a software module configured to
  Available Payout is based upon the Maximum Attainable                  evaluate and record the results of the play of the said game
  Key Score associated with each Playfield. In some embodi               session in the said Playfield; a software module configured
  ments, the games in the Playfield Selection Pool comprise         50   to present a Paytable to the player, wherein the Paytable
  one or more games with a time limit. In further embodi                 comprises one or more lines of payouts based on a players
  ments, the games comprise a racing game, wherein a player              play results; a Software module configured to evaluate and
  races on a track to achieve the best track time within a given         distribute any payout earned according to the best play
  timeframe. In some embodiments, the racing game com                    results and the Paytable; and a software module configured
  prises an optimum path on the racetrack and an optimum            55   to manage the variance of Return To Player (RTP) of the
  track time along the optimum path. In some embodiments,                Paytable, by adjusting selection weights of different Play
  the games in the Playfield Selection Pool include at least one         fields presented to a player, wherein different Playfields
  game with a limit on the number of player actions allowed              relate to respective Maximum Available Payouts.
  during game play. In some embodiments, the games in the                   In another aspect, disclosed herein is non-transitory com
  Playfield Selection Pool include at least one game with at        60   puter-readable storage media encoded with a computer
  least one strategic skill decision required of the player. In          program including instructions executable by a processor to
  Some embodiments, the games comprise one or more of a                  create an application for adapting games of skill into a
  maZe game, a sports game, a spelling game, a catching                  gaming machine by balancing player skill, game challenges,
  game, an avoiding game, a balancing game, a drawing game,              and random elements to map a probable series of outcomes
  a collecting game, a shooting game, an exercise-based game,       65   for all players, the application comprising: a Software mod
  a role playing game, a casual game, a racing game, a fighting          ule configured to accept initiation of play by a player; a
  game, a first person shooting game, a massively multiplayer            Software module configured to provide one or more single
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  player games associated with a plurality of game parameters           further embodiments, the currency of the bet is not the same
  and having one or more features requiring the application of          as the currency of said payout. In further embodiments, the
  Video game skill by the player during game play thereof,              player makes a percentage of original bet to restart a game
  wherein the games are chosen from a Playfield Selection               of skill. In some embodiments, the gaming machine is a
  Pool using a random number generator, comprising: a first             stand-alone unit. In some embodiments, the gaming machine
  random number used to choose a Playfield from the Play                is connected to a central system from which outcomes are
  field Selection Pool, wherein the Playfield is set to have a          retrieved, wherein the central system comprises one or more
  Maximum Available Payout; and a second random number                  of a Class II gaming system, a video lottery terminal, and
  used to choose a specific game session from the already               a networked client-server system. In some embodiments, the
  chosen Playfield; a software module configured to evaluate       10   Maximum Available Payout is based upon the Maximum
  and record the results of the play of the said game session in        Attainable Key Score associated with each Playfield. In
  the said Playfield; a software module configured to present           Some embodiments, the games of video skill comprise one
  a Paytable to the player, wherein the Paytable comprises one          or more games with a time limit. In further embodiments, the
  or more lines of payouts based on a player's play results; a          one or more games of skill comprise a racing game, wherein
  Software module configured to evaluate and distribute any        15   a player races on a track to achieve the best track time within
  payout earned according to the best play results and the              a given timeframe. In further embodiments, the racing game
  Paytable; and a software module configured to manage the              comprises an optimum path on the racetrack and an opti
  variance of Return To Player (RTP) of the Paytable, by                mum track time along the optimum path. In some embodi
  adjusting selection weights of different Playfields presented         ments, the games of video skill include at least one game
  to a player, wherein different Playfields relate to respective        with a limit on the number of player actions. In some
  Maximum Available Payouts.                                            embodiments, the games of video skill include at least one
     In another aspect, disclosed herein is a computer-imple            game with at least one strategic skill decision required of the
  mented method of adapting games of skill into a gaming                player. In some embodiments, the one or more games of skill
  machine, wherein the method balances player skill, game               comprise one or more of a maze game, a sports game, a
  challenges, and random elements to map a probable series of      25   spelling game, a catching game, an avoiding game, a bal
  outcomes for all players, the method comprising: accepting,           ancing game, a drawing game, a collecting game, a shooting
  through the gaming machine, initiation of play by a player;           game, an exercise-based game, a role playing game, a casual
  providing, by the gaming machine, one or more single                  game, a racing game, a fighting game, a first person shooting
  player games of video game skill, wherein games are chosen            game, a massively multiplayer online role-playing game
  from a Playfield Selection Pool using a random number            30   (MMORPG), a side view projectile game, a top view
  generator, evaluating and recording, by the gaming machine,           projectile game, quartering view projectile game, or a mas
  the results of the play of the said game session in the said          sively multiplayer online role-playing game, a matching
  Playfield; presenting, by the gaming machine, a Paytable to           game, a hidden object game, a word finding game, a word
  the player, wherein the Paytable comprises one or more lines          construction game, a path game, a time-management game,
  of payouts based on a player's play results; and evaluating      35   a resource management game, a plant growing game, an
  and distributing, by the gaming machine, any payout earned            animal raising game, a shape placing game, a pattern match
  according to the best play results and the Paytable.                  ing game, a rhythm matching game, a memory game, a color
    In some embodiments, a first random number chooses a                completion game, a linking game, a virtual fishing game, an
  Payout Level, and a second random number chooses a Play               animal simulation game, and any suitable game of skill. In
  Field from a collection of Play Fields which all have the        40   Some embodiments, the player ends a game of skill at any
  same Maximum Available Payout as said chosen Payout                   time when satisfied with their results. In some embodiments,
  Level. In some embodiments, the system further comprises              the player quits a game of skill at any time to move to a next
  one or more modules monitoring the actual Return To Player            game of skill. In some embodiments, the gaming machine
  and adjusting game parameters to manage the variance of               accepts a player's extra bet that a play result will be
  said Return To Player. In further embodiments, wherein the       45   achieved. In some embodiments, the player makes extra bets
  adjusting of the Return To Player variance is based on one            during the game of skill based on the progress of the game.
  or more of mid-game metrics, Key Scores, non-Key Scores,              In some embodiments, the player has only one chance to
  end-of-game results, the difference between actual Maxi               achieve a specific Key Score. In some embodiments, the
  mum Available Payouts and actual payouts, and the differ              player plays the game via a game controller. In further
  ence between actual Maximum Attainable Key Scores and            50   embodiments, the game control comprises one of more of
  actual Key Scores. In further embodiments, the Return To              a gamepad, a paddle, a joystick, a trackball, a throttle
  Player variance is managed by adjusting one or more of                quadrant, a steering wheel, a yoke, pedals, a keyboard, a
  selection weights of different Playfields presented to a              mouse, a touch screen, a motion sensor, a light gun, a rhythm
  player, wherein different Play Fields relate to respective            game controller, a console game controller. In some embodi
  Maximum Available Payouts, selection weights of a of at          55   ments, the gaming machine awards the player additional
  least one a first prize from a first variable-prize selection         time to complete the game session. In further embodiments,
  pool, the frequency of a bonus award, the amount of time              said additional time awarded is based upon the gaming
  available within a Play Session, and the number of player             machine predicting, via evaluation of mid-game progress,
  actions available with a Play Session. In further embodi              that the player is likely to earn less than the Maximum
  ments, the adjusting of the Return To Player is applied to one   60   Available Payout without said additional time.
  or more of a current game in progress and a future game. In              In another aspect, disclosed herein is a computer-imple
  Some embodiments, the initiation includes the staking of a            mented system for adapting games of skill into a gaming
  bet by the player, wherein the bet comprises one or more of:          machine by balancing player skill, game challenges, and
  monetary currency, virtual currency, and the equivalents. In          random elements to map a probable series of outcomes for
  Some embodiments, the payout comprises one or more of a          65   all players, the system comprising: a gaming machine com
  progressive jackpot, a physical prize, non-redeemable                 prising at least one processor, an operating system config
  points, non-accumulating points, and other equivalents. In            ured to perform executable instructions, and a memory; a
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  computer program including instructions executable by the              field Selection Pool, wherein the Playfield is set to have a
  at least one processor to create an application comprising: a          Maximum Available Payout; and a second random number
  Software module configured to accept initiation of play by a           used to choose a specific game session from the already
  player; a software module configured to provide one or more            chosen Playfield; a software module configured to evaluate
  single-player games of video game skill, wherein games are             and record the results of the play of the said game session in
  chosen from a Playfield Selection Pool using a random                  the said Playfield; a software module configured to present
  number generator, a Software module configured to evaluate             a Paytable to the player, wherein the Paytable comprises one
  and record the results of the play of the said game session in         or more lines of payouts based on a player's play results; a
  the said Playfield; a software module configured to present            Software module configured to evaluate any payout earned
  a Paytable to the player, wherein the Paytable comprises one      10   by the player according to the best play results and the
  or more lines of payouts based on a player's play results; and         Paytable; and a software module configured to manage
  a software module configured to evaluate and distribute any            Return To Player (RTP) of the Paytable, by adjusting selec
  payout earned according to the best play results and the               tion weights of different Playfields presented to a player,
  Paytable.                                                              wherein different Playfields relate to respective Maximum
    In some embodiments, a first random number chooses a            15   Available Payouts.
  Payout Level, and a second random number chooses a Play                   In another aspect, disclosed herein is a computer-imple
  Field from a collection of Play Fields which all have the              mented method of adapting games of skill into a gaming
  same Maximum Available Payout as said chosen Payout                    machine, wherein the method balances player skill, game
  Level. In some embodiments, the system further comprises               challenges, and random elements to map a probable series of
  monitoring the actual Return To Player and adjusting game              outcomes for all players, the method comprising: accepting,
  parameters to manage the variance of said Return To Player.            through the gaming machine, initiation of play by a player;
  In further embodiments, wherein the adjusting of the Return            providing, by the gaming machine, one or more single
  To Player variance is based on one or more of mid-game                 player games of video game skill, wherein games are chosen
  metrics, Key Scores, non-Key Scores, end-of-game results,              from a Playfield Selection Pool using a random number
  the difference between actual Maximum Available Payouts           25   generator comprising: a first random number used to choose
  and actual payouts, and the difference between actual Maxi             a Playfield from the Playfield Selection Pool, wherein the
  mum Attainable Key Scores and actual Key Scores. In                    Playfield is set to have a Maximum Available Payout; and a
  further embodiments, the Return To Player variance is                  second random number used to choose a specific game
  managed by adjusting one or more of selection weights of               session from the already chosen Playfield; evaluating and
  different Playfields presented to a player, wherein different     30   recording, by the gaming machine, the results of the play of
  Play Fields relate to respective Maximum Available Pay                 the said game session in the said Playfield; presenting, by the
  outs, selection weights of a of at least one a first prize from        gaming machine, a Paytable to the player, wherein the
  a first variable-prize selection pool, the frequency of a bonus        Paytable comprises one or more lines of payouts based on a
  award, the amount of time available within a Play Session,             player's play results; evaluating and distributing, by the
  and the number of player actions available with a Play            35   gaming machine, any payout earned according to the best
  Session. In further embodiments, the adjusting of the Return           play results and the Paytable; and managing, through the
  To Player is applied to one or more of a current game in               gaming machine, Return To Player (RTP) of the Paytable, by
  progress and a future game. In some embodiments, the                   adjusting selection weights of different Playfields presented
  player plays the game via a game controller. In further                to a player, wherein different Playfields relate to respective
  embodiments, the game control comprises one of more of            40   Maximum Available Payouts.
  a gamepad, a paddle, a joystick, a trackball, a throttle                  In some embodiments, the initiation includes the staking
  quadrant, a steering wheel, a yoke, pedals, a keyboard, a              ofa bet by the player, wherein the bet comprises one or more
  mouse, a touch screen, a motion sensor, a light gun, a rhythm          of monetary currency, virtual currency, and the equivalents.
  game controller, a console game controller. In some embodi             In some embodiments, the payout comprises one or more of
  ments, the adjusting of the Return To Player is based on one      45   a progressive jackpot, a physical prize, non-redeemable
  or more of mid-game metrics, Key Scores, non-Key Scores,               points, non-accumulating points, and other equivalents. In
  end-of-game results, the difference between actual Maxi                Some embodiments, the currency of the bet is not the same
  mum Available Payouts and actual payouts, and the differ               as the currency of said payout. In some embodiments, the
  ence between actual Maximum Attainable Key Scores and                  gaming machine is a stand-alone unit. In some embodi
  actual Key Scores.                                                50   ments, the gaming machine is connected to a central system
     In another aspect, disclosed herein is non-transitory com           from which outcomes are retrieved, wherein the central
  puter-readable storage media encoded with a computer                   system comprises one or more of a Class II gaming system,
  program including instructions executable by a processor to            a video lottery terminal, and a networked client-server
  create an application for adapting games of skill into a               system. In some embodiments, the Maximum Available
  gaming machine by balancing player skill, game challenges,        55   Payout is based upon the Maximum Attainable Key Score
  and random elements to map a probable series of outcomes               associated with each Playfield. In some embodiments, the
  for all players, the application comprising: a gaming                  games of video skill comprise one or more games with a
  machine comprising at least one processor, an operating                time limit. In some embodiments, the one or more games of
  system configured to perform executable instructions, and a            skill comprise a racing game, wherein a player races on a
  memory; a computer program including instructions execut          60   track to achieve the best track time within a given time
  able by the at least one processor to create an application            frame. In further embodiments, the racing game comprises
  comprising: a Software module configured to accept initia              an optimum path on the racetrack and an optimum track time
  tion of play by a player, a software module configured to              along the optimum path. In some embodiments, the games
  provide one or more single-player games of video game                  of video skill include at least one game with a limit on the
  skill, wherein games are chosen from a Playfield Selection        65   number of player actions. In some embodiments, said games
  Pool using a random number generator comprising: a first               of video skill include at least one game with at least one
  random number used to choose a Playfield from the Play                 strategic skill decision required of the player. In some
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  embodiments, the one or more games of skill comprise a                  equivalent. In further embodiments, the currency of said bet
  maZe game, a sports game, a spelling game, a catching                   is not the same as the currency of said first payout. In some
  game, an avoiding game, a balancing game, a drawing game,               embodiments, the said Playfield Selection Pool includes a
  a collecting game, a shooting game, an exercise-based game,             second Playfield whose Maximum Available Payout is not
  a role playing game, a casual game, a racing game, a fighting      5    the same as the Maximum Available Payout of the first
  game, a first person shooting game, a massively multiplayer             Playfield. In some embodiments, the said first Paytable
  online role-playing game (MMORPG), a side view projec                   includes a second payout based upon the player attaining a
  tile game, a top view projectile game, quartering view                  second result. In further embodiments, only the highest
  projectile game, or a massively multiplayer online role                 value payout is awarded by the gaming machine. In some
  playing game, a matching game, a hidden object game, a             10   embodiments, at least one payout is a progressive jackpot. In
  word finding game, a word construction game, a path game,               Some embodiments, at least one payout is a physical prize.
  a time-management game, a resource management game, a                   In some embodiments, the said random selection of said first
  plant growing game, an animal raising game, a shape                     Playfield is based upon a random number generator or
  placing game, a pattern matching game, a rhythm matching                pseudo random number generator. In some embodiments,
  game, a memory game, a color completion game, a linking            15   the said random selection of said first Playfield is based upon
  game, a virtual fishing game, an animal simulation game,                Some independent events whose outcome cannot be per
  and any suitable game of skill. In some embodiments, the                fectly predicted. In further embodiments, the said indepen
  player ends a game of skill at any time when satisfied with             dent event is the outcome of a bingo game. In further
  their results. In some embodiments, the player makes a                  embodiments, the said independent event is the outcome of
  percentage of original bet to restart a game of skill. In some          sporting event. In some embodiments, the said gaming
  embodiments, the player quits a game of skill at any time to            machine is a stand-alone unit. In some embodiments, the
  move to a next game of skill. In some embodiments, the                  said gaming machine is connected to a central system from
  gaming machine accepts a player's extra bet that a play                 which outcomes are retrieved. In further embodiments, the
  result will be achieved. In some embodiments, the player                said central system conforms is a Class II gaming system. In
  makes extra bets during the game of skill based on the             25   further embodiments, the said gaming machine is a video
  progress of the game. In some embodiments, the player has               lottery terminal. In further embodiments, the said gaming
  only one chance to achieve a specific Key Score. In some                machine is a networked client-server system. In some
  embodiments, the player plays the game via a game con                   embodiments, the said Maximum Available Payout is based
  troller. In further embodiments, the game control comprises             upon the Maximum Attainable Key Score associated with
  one of more of a gamepad, a paddle, a joystick, a trackball,       30   each Playfield. In some embodiments, the said payout is
  a throttle quadrant, a steering wheel, a yoke, pedals, a                based on a second Paytable. In some embodiments, the said
  keyboard, a mouse, a touch screen, a motion sensor, a light             games of video skill include at least one game with a time
  gun, a rhythm game controller, a console game controller. In            limit. In further embodiments, the one or more games of skill
  some embodiments, the adjusting of the Return To Player is              comprise a racing game, wherein a player races on a track
  applied to one or more of a current game in progress and a         35   to achieve the best track time within a given timeframe. In
  future game. In some embodiments, the adjusting of the                  further embodiments, the racing game comprises an opti
  Return To Player is based on one or more of mid-game                    mum path on the racetrack and an optimum track time along
  metrics, Key Scores, non-Key Scores, end-of-game results,               the optimum path. In some embodiments, the said games of
  the difference between actual Maximum Available Payouts                 Video skill include at least one game with a limit on the
  and actual payouts, and the difference between actual Maxi         40   number of player actions. In some embodiments, the said
  mum Attainable Key Scores and actual Key Scores. In some                games of video skill include at least one game with at least
  embodiments, the gaming machine awards the player addi                  one strategic skill decision required of the player. In some
  tional time to complete the game session. In further embodi             embodiments, the one or more games of skill comprise one
  ments, the additional time awarded is based upon the gaming             or more of a maze game, a sports game, a spelling game, a
  machine predicting, via evaluation of mid-game progress,           45   catching game, an avoiding game, a balancing game, a
  that the player is likely to earn less than the Maximum                 drawing game, a collecting game, a shooting game, an
  Available Payout without said additional time.                          exercise-based game, a role playing game, a casual game, a
     In another aspect, disclosed herein is a computer-imple              racing game, a fighting game, a first person shooting game,
  mented method of offering a game of chance via a gaming                 a massively multiplayer online role-playing game
  machine, comprising: accepting, through the gaming                 50   (MMORPG), a side view projectile game, a top view
  machine, initiation of play; providing, by the gaming                   projectile game, quartering view projectile game, or a mas
  machine, one or more single-player games of video game                  sively multiplayer online role-playing game, a matching
  skill; randomly selecting, by the gaming machine, a first               game, a hidden object game, a word finding game, a word
  Playfield from a Playfield Selection Pool, wherein said first           construction game, a path game, a time-management game,
  Playfield has a Maximum Available Payout; providing, by            55   a resource management game, a plant growing game, an
  the gaming machine, a game session based upon said                      animal raising game, a shape placing game, a pattern match
  Playfield; evaluating and recording, by the gaming machine,             ing game, a rhythm matching game, a memory game, a color
  the results of the play of said Playfield, presenting, by the           completion game, a linking game, a virtual fishing game, an
  gaming machine, a first Paytable, wherein the first Paytable            animal simulation game, and any suitable game of skill. In
  specifies a first payout based upon the player attaining a first   60   Some embodiments, the player ends a game of skill at any
  result, evaluating and distributing, by the gaming machine,             time when satisfied with their results. In some embodiments,
  any payout earned by the player relative to said first Pay              the player makes a percentage of original bet to restart a
  table.                                                                  game of skill. In some embodiments, the player quits a game
     In some embodiments, the initiation includes the staking             of skill at any time to move to a next game of skill. In some
  of a first bet by the player. In further embodiments, the said     65   embodiments, the gaming machine accepts a player's extra
  bet is a monetary currency or its equivalent. In further                bet that a first result will beachieved. In some embodiments,
  embodiments, the said bet is a virtual currency or its                  the player makes extra bets during the game of skill based
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  on the progress of the game. In some embodiments, the                   FIG. 4 shows a non-limiting example of an eRTP (ex
  player has only one chance to achieve a specific Key Score.           pected Return To Player) table; in this case, a table which
  In some embodiments, the initiation is payment of a non               provides a 75% eRTP based on a game Paytable for a race
  refundable fee in a first currency by the player and any              game.
  payouts are in a second currency which is a different                    FIG. 5 shows a non-limiting example of a math model of
  currency type relative to said a first currency. In further           a race game; in this case, a diagram displaying a players
  embodiments, the said a second currency for payouts is                payout outcome based on his actual finish time while
  non-redeemable points. In further embodiments, the said a             playing in different track groups of race games.
  second currency for payouts is non-accumulating points. In       10
                                                                           FIG. 6 shows a non-limiting example of an eRTP (ex
  further embodiments, the said a second currency for payouts           pected Return To Player) table; in this case, a table which
  is a virtual representation of said a first currency which            provides a 75% eRTP by adjusting the weighted chances of
  cannot be converted into said a first currency. In some               track groups with different optimum finish time.
  embodiments, the player plays said game via a game con                   FIG. 7 shows a non-limiting example of an eRTP (ex
  troller. In some embodiments, the player plays said game via     15   pected Return To Player) table; in this case, a table which
  at least one joy stick device. In some embodiments, the               provides an 85% eRTP by adjusting the weighted chances of
  player plays said game via at least one trackball device. In          track groups with different optimum finish time.
  Some embodiments, the gaming machine adjusts the Return                  FIG. 8 shows a non-limiting example of an eRTP (ex
  To Player. In further embodiments, the said adjustment                pected Return To Player) table; in this case, a table which
  applies to the current game in progress. In further embodi            provides a 90% eRTP by adjusting the weighted chances of
  ments, the said adjustment applies to at least one future             track groups with different optimum finish time.
  game. In further embodiments, the said adjustment include                FIG. 9 shows a non-limiting example of a table of track
  the changing the selection weighting of at least one a first          symbols; in this case, a table of basic elements of a track
  Playfield from a first Playfield Selection Pool. In further           including: start, finish, straight, left corner and right corner,
  embodiments, the said adjustment includes the changing the       25   wherein each segment of a track can be converted into spots
  selection weighting of at least one a first prize from a first        or cells whereby each cell takes one (1) millisecond to
  variable-prize selection pool. In further embodiments, the            traVerse.
  said adjustment is based on at least one mid-game metric. In             FIG. 10 shows a non-limiting example of a theoretical
  further embodiments, the said at one mid-game metric is               track; in this case, a race track in Payout Level 1 which has
  based upon at least one Key Score. In further embodiments,       30   an optimum finish time of 14.00 seconds when all the basic
                                                                        elements are combined.
  the said at one mid-game metric is based upon at least one               FIG. 11 shows a non-limiting example of a theoretical
  non-Key Score. In further embodiments, the said adjustment            track; in this case, a race track in Payout Level 2 which has
  is based on at least one end-of-game result. In further               an optimum finish time of 14.01 seconds when all the basic
  embodiments, the said adjustment is based on the difference      35   elements are combined.
  between actual Maximum Available Payout and actual pay                   FIG. 12 shows a non-limiting example of a theoretical
  out. In further embodiments, the said adjustment is based on          track; in this case, a race track in Payout Level 3 which has
  the difference between actual Maximum Attainable Key                  an optimum finish time of 14.06 seconds when all the basic
  Score and actual Key Score. In some embodiments, the                  elements are combined.
  gaming machine awards the player additional time to com          40      FIG. 13 shows a non-limiting example of a theoretical
  plete the game session. In further embodiments, the said              track; in this case, a race track in Payout Level 4 which has
  additional time awarded is based upon the gaming machine              an optimum finish time of 14.11 seconds when all the basic
  predicting, via evaluation of mid-game progress, that the             elements are combined.
  player is likely to earn less than the Maximum Available                 FIG. 14 shows a non-limiting example of a theoretical
  Payout without said additional time. In further embodi           45   track; in this case, a race track in Payout Level 5 which has
  ments, the probability of said additional time being awarded          an optimum finish time of 14.21 seconds when all the basic
  for a game session with a first Playfield is larger than the          elements are combined.
  probability of said additional time being awarded for a game             FIG. 15 shows a non-limiting example of a Paytable
  session with a second Playfield, when the Maximum Avail               wherein a table of basic elements in a first-person action
  able Payout for said first Playfield is larger than the Maxi     50   game is provided including: Normal Enemies and Invincible
  mum Available Payout for second said Playfield.                       Enemies, whereby Normal Enemies may be eliminated by
                                                                        the player in normal gameplay, and Invincible Enemies may
        BRIEF DESCRIPTION OF THE DRAWINGS                               not be eliminated by the player in normal gameplay.
                                                                           FIGS. 16-20 show non-limiting examples of Paytables for
     FIG. 1 shows a non-limiting example of a video game           55   base games plus Chicken Dinner S payouts relative to
  gaming machine; in this case, a prototype video game                  different respective bet sizes, such as S1 Chicken for FIG.
  gaming machine, which is a single player or multiplayer               16, S2 Chicken for FIG. 17, S3 Chicken for FIG. 18, S5
  experience that replaces traditional slot machines, and in            Chicken for FIG. 19, S25 Chicken for FIG. 20.
  which players bet against the house while competing in                   FIG. 21 shows a non-limiting example of a suitable
  Video games.                                                     60   multiple-player gaming machine; in this case, a prototype of
     FIG. 2 shows a non-limiting example of a suitable video            Carousel version of gaming machine.
  game controller, in this case, a commercial USB controller               FIG. 22 shows a non-limiting example of a design of a
  which has been designed for the simplest possible operation           Carousel version gaming machine; in this case, a top view
  by players of all skill levels.                                       of a 3-unit pod Carousel version gaming machine.
     FIG.3 shows a non-limiting example of a game Paytable:        65      FIG. 23 shows a non-limiting example of a design of a
  in this case, a simple, fixed Paytable with five potential            Carousel version gaming machine; in this case, a side view
  Payout Levels based on wager of 1 credit for a race game.             of a 3-unit pod Carousel version gaming machine.
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    FIG. 24 shows a non-limiting example of a design of a              player during game play thereof, wherein the games are
  Carousel version gaming machine; in this case, a top view            chosen from a Playfield Selection Pool using a random
  of a 5-unit pod Carousel version gaming machine.                     number generator, comprising: a first random number used
    FIG. 25 shows a non-limiting example of a design of a              to choose a Playfield from the Playfield Selection Pool,
  Carousel version gaming machine; in this case, a side view           wherein the Playfield is set to have a Maximum Available
  of a 5-unit pod Carousel version gaming machine.                     Payout; and a second random number used to choose a
    FIG. 26 shows a non-limiting example of a design of a              specific game session from the already chosen Playfield; a
  Carousel version gaming machine; in this case, a front view          Software module configured to evaluate and record the
  of a filler of a Carousel version gaming machine.                    results of the play of the said game session in the said
    FIG. 27 shows a non-limiting example of a design of a         10   Playfield; a software module configured to present a Pay
  Carousel version gaming machine; in this case, a three               table to the player, wherein the Paytable comprises one or
  dimensional view and design parameters of a filler of a              more lines of payouts based on a player's play results; a
  Carousel version gaming machine.                                     Software module configured to evaluate and distribute any
    FIG. 28 shows a non-limiting example of a design of a              payout earned according to the best play results and the
  Carousel version gaming machine; in this case, a three          15   Paytable; and a Software module configured to manage the
  dimensional view and design of an individual cabinet of a            variance of Return To Player (RTP) of the Paytable, by
  Carousel version gaming machine.                                     adjusting selection weights of different Playfields presented
    FIG. 29 shows a non-limiting example of a design of a              to a player, wherein different Playfields relate to respective
  Carousel version gaming machine; in this case, a custom              Maximum Available Payouts.
  signage of an individual cabinet of a Carousel version                 Also described herein, in certain embodiments, is non
  gaming machine.                                                      transitory computer-readable storage media encoded with a
                                                                       computer program including instructions executable by a
            DETAILED DESCRIPTION OF THE                                processor to create an application for adapting games of skill
                     INVENTION                                         into a gaming machine by balancing player skill, game
                                                                  25   challenges, and random elements to map a probable series of
     Described herein, in certain embodiments, is a computer           outcomes for all players, the application comprising: a
  implemented method of adapting games of skill into a                 Software module configured to accept initiation of play by a
  gaming machine, wherein the method balances player skill,            player, a software module configured to provide one or more
  game challenges, and random elements to map a probable               single-player games associated with a plurality of game
  series of outcomes for all players, the method comprising:      30   parameters and having one or more features requiring the
  accepting, through the gaming machine, initiation of play by         application of video game skill by the player during game
  a player; providing, by the gaming machine, one or more              play thereof, wherein the games are chosen from a Playfield
  single-player games associated with a plurality of game              Selection Pool using a random number generator, compris
  parameters and having one or more features requiring the             ing: a first random number used to choose a Playfield from
  application of video game skill by the player during game       35   the Playfield Selection Pool, wherein the Playfield is set to
  play thereof, wherein the games are chosen from a Playfield          have a Maximum Available Payout; and a second random
  Selection Pool using a random number generator, compris              number used to choose a specific game session from the
  ing: a first random number used to choose a Playfield from           already chosen Playfield; a software module configured to
  the Playfield Selection Pool, wherein the Playfield is set to        evaluate and record the results of the play of the said game
  have a Maximum Available Payout; and a second random            40   session in the said Playfield; a software module configured
  number used to choose a specific game session from the               to present a Paytable to the player, wherein the Paytable
  already chosen Playfield; evaluating and recording, by the           comprises one or more lines of payouts based on a players
  gaming machine, the results of the play of the said game             play results; a Software module configured to evaluate and
  session in the said Playfield; presenting, by the gaming             distribute any payout earned according to the best play
  machine, a Paytable to the player, wherein the Paytable         45   results and the Paytable; and a software module configured
  comprises one or more lines of payouts corresponding to              to manage the variance of Return To Player (RTP) of the
  play results; evaluating and distributing, by the gaming             Paytable, by adjusting selection weights of different Play
  machine, any payout earned according to the best play                fields presented to a player, wherein different Playfields
  results and the Paytable; and managing, through the gaming           relate to respective Maximum Available Payouts.
  machine, the variance of Return To Player (RTP) of the          50     Also described herein, in certain embodiments, is a com
  Paytable, by adjusting selection weights of different Play           puter-implemented method of adapting games of skill into a
  fields presented to a player, wherein different Playfields           gaming machine wagering game by balancing player skill,
  relate to respective Maximum Available Payouts.                      game challenges, and random elements to map a probable
    Also described herein, in certain embodiments, is a com            series of outcomes for all players, the system comprising: a
  puter-implemented system for adapting games of skill into a     55   gaming machine comprising at least one processor, an
  gaming machine by balancing player skill, game challenges,           operating system configured to perform executable instruc
  and random elements to map a probable series of outcomes             tions, and a memory; a computer program including instruc
  for all players, the system comprising: a gaming machine             tions executable by the at least one processor to create an
  comprising at least one processor, an operating system               application comprising: a Software module configured to
  configured to perform executable instructions, and a            60   accept initiation of play by a player, a Software module
  memory; a computer program including instructions execut             configured to provide one or more single-player games of
  able by the at least one processor to create an application          Video game skill, wherein games are chosen from a Playfield
  comprising: a Software module configured to accept initia            Selection Pool using a random number generator; a software
  tion of play by a player, a software module configured to            module configured to evaluate and record the results of the
  provide one or more single-player games associated with a       65   play of the said game session in the said Playfield; a software
  plurality of game parameters and having one or more                  module configured to present a Paytable to the player,
  features requiring the application of video game skill by the        wherein the Paytable comprises one or more lines of payouts
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  based on a player's play results; and a software module                play results; evaluating and distributing, by the gaming
  configured to evaluate and distribute any payout earned                machine, any payout earned according to the best play
  according to the best play results and the Paytable.                   results and the Paytable; and managing, through the gaming
    Also described herein, in certain embodiments, is a com              machine, Return To Player (RTP) of the Paytable, by adjust
  puter-implemented system for adapting games of skill into a            ing selection weights of different Playfields presented to a
  gaming machine wagering game by balancing player skill,                player, wherein different Playfields relate to respective
  game challenges, and random elements to map a probable                 Maximum Available Payouts.
  series of outcomes for all players, the system comprising: a             Also described herein, in certain embodiments, is a com
  gaming machine comprising at least one processor, an                   puter-implemented method of offering a game of chance via
  operating system configured to perform executable instruc         10   a gaming machine, comprising: accepting, through the gam
  tions, and a memory; a computer program including instruc              ing machine, initiation of play; providing, by the gaming
  tions executable by the at least one processor to create an            machine, one or more single-player games of video game
  application comprising: a Software module configured to                skill; randomly selecting, by the gaming machine, a first
  accept initiation of play by a player, a Software module               Playfield from a Playfield Selection Pool, wherein said first
  configured to provide one or more single-player games of          15   Playfield has a Maximum Available Payout; providing, by
  Video game skill, wherein games are chosen from a Playfield            the gaming machine, a game session based upon said
  Selection Pool using a random number generator; a Software             Playfield; evaluating and recording, by the gaming machine,
  module configured to evaluate and record the results of the            the results of the play of said Playfield, presenting, by the
  play of the said game session in the said Playfield; a software        gaming machine, a first Paytable, wherein the first Paytable
  module configured to present a Paytable to the player,                 specifies a first payout based upon the player attaining a first
  wherein the Paytable comprises one or more lines of payouts            result, evaluating and distributing, by the gaming machine,
  based on a player's play results; and a software module                any payout earned by the player relative to said first Pay
  configured to evaluate and distribute any payout earned                table.
  according to the best play results and the Paytable.                      In another aspect, disclosed herein are computer-imple
    Also described herein, in certain embodiments, is non           25   mented methods of adapting games of skill into a gaming
  transitory computer-readable storage media encoded with a              machine wagering game, wherein the method balances
  computer program including instructions executable by a                player skill, game challenges, and random elements to map
  processor to create an application for adapting games of skill         a probable series of outcomes for all players, the method
  into a gaming machine wagering game by balancing player                comprising: accepting, through the gaming machine, a play
  skill, game challenges, and random elements to map a              30   er's bet; providing, by the gaming machine, one or more
  probable series of outcomes for all players, the application           single-player games of skill, wherein the Playfield for a
  comprising: a gaming machine comprising at least one                   given game is randomly selected from a Playfield Selection
  processor, an operating system configured to perform                   Pool using a random number generator (RNG) comprising a
  executable instructions, and a memory; a computer program              first random number used to index a lookup table with
  including instructions executable by the at least one proces      35   uniform or non-uniform weights, wherein each Playfield has
  Sor to create an application comprising: a software module             a predetermined Maximum Available Payout that can be
  configured to accept initiation of play by a player; a software        achieved when a certain threshold of skillful player input is
  module configured to provide one or more single-player                 applied; a Playfield in which the Playfield is presented as a
  games of video game skill, wherein games are chosen from               playable game and in which the player plays the using a
  a Playfield Selection Pool using a random number generator;       40   Video game controller, the posting of the player's best Key
  a software module configured to evaluate and record the                Score within a given play session; evaluating said best Key
  results of the play of the said game session in the said               Score relative to the game rules and game Paytable and
  Playfield; a software module configured to present a Pay               awarding any prizes upon the determination of any winning
  table to the player, wherein the Paytable comprises one or             OutCOme.
  more lines of payouts based on a player's play results; and       45      In some embodiments, the payout is based upon a second
  a software module configured to evaluate and distribute any            Key Score based upon a different metric from a first Key
  payout earned according to the best play results and the               Score. In some embodiments, winning outcomes are defined
  Paytable.                                                              based upon either a first Key Score attaining a certain value
    Also described herein, in certain embodiments, is a com              or range of values, or a second Key Score attaining a certain
  puter-implemented method of adapting games of skill into a        50   value or range of values. In some embodiments, winning
  gaming machine wagering game, wherein the method bal                   outcomes are defined based upon a first Key Score attaining
  ances player skill, game challenges, and random elements to            a certain value or range of values, and a second Key Score
  map a probable series of outcomes for all players, the                 attaining a certain value or range of values. In some embodi
  method comprising: accepting, through the gaming                       ments, payouts from a first Paytable are based on a first Key
  machine, initiation of play by a player, providing, by the        55   Score and payouts from a second Paytable are based on a
  gaming machine, one or more single-player games of video               second Key Score. For example, a shooting game which
  game skill, wherein games are chosen from a Playfield                  pays a S2 prize for downing 5 red targets, and pays a S3 prize
  Selection Pool using a random number generator compris                 for downing 5 blue targets, and pays S5 for downing 12
  ing: a first random number used to choose a Playfield from             targets of any colors, wherein said prizes are not mutually
  the Playfield Selection Pool, wherein the Playfield is set to     60   exclusive.
  have a Maximum Available Payout; and a second random                      In some embodiments, the Playfield Selection Pool con
  number used to choose a specific game session from the                 sists of at least a first Playfield with a first Maximum
  already chosen Playfield; evaluating and recording, by the             Available Payout and a second Playfield with a second
  gaming machine, the results of the play of the said game               Maximum Available Payout. In some embodiments, wherein
  session in the said Playfield; presenting, by the gaming          65   each entry in the lookup table used to randomly select a
  machine, a Paytable to the player, wherein the Paytable                given Playfield from the Playfield Selection Pool has the
  comprises one or more lines of payouts based on a players              same weight, each Playfield is equally likely to be selected.
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  In some embodiments, wherein a first entry in said lookup                game; or (t) a path game; or (u) a time-management game:
  table has a first selection weight and a second entry in said            or (v) a resource management game; or (w) a plant growing
  lookup table has a second selection weight not equal to the              game; or (X) an animal raising game; or (y) a shape placing
  first selection weight, the probability of a given Playfield             game; or (Z) a pattern matching game; or (aa) a rhythm
  being selected is proportional to the lookup entry weight for            matching game; or (ab) a memory game; or (ac) a color
  that Playfield relative to the sum total of all lookup weights.          completion game; or (ad) a linking game; or (ae) a virtual
  In some embodiments, the selection weight for at least a first           fishing game; or (af) an animal simulation game; or (ag) any
  Playfield is modified when said first Playfield is selected so           Suitable game of skill; or (ah) any combination thereof.
  as to eliminate or reduce the possibility of said first Playfield           In some embodiments, the VGM is a single player video
  being selected twice in a row. In some embodiments, the             10   game gaming machine in which the players bet against the
  selection weight for at least a first Playfield is modified              house. In further embodiments, the VGM is a video game
  based on the level of player skilled applied during an active            gaming machine in which players bet against the house
  and/or a completed first game session. In some embodi                    while competing in multiplayer video games. In some varia
  ments, the selection weight for at least a first Playfield is            tions, competition between players is based on real-time
  modified based on the Key Score outcome of a first active or        15   Key Scores where each player plays his or her own VGM.
  completed game. In some embodiments, the selection                       In some variations, competition between players is based on
  weight for at least a first Playfield is modified based on the           real-time secondary scores where each player plays his or
  payout achieved in a first completed game session relative to            her own VGM. In some other variation, competition
  the Maximum Available Payout for said first game session.                between players is based on recorded prior outcomes. Such
    In some embodiments, the distribution of Maximum                       as the best payout recorded on a given VGM or such as the
  Available Payouts of all Playfields, relative to the weighting,          best payout recorded across a plurality of linked VGMs. In
  if any, of said Playfields, is constructed such that the                 Some multiplayer embodiments, the action of a first player
  expected Return To Player (eRTP) is a specific value or is               cannot affect the game outcome of a second player. In some
  within a specific range of values were every game to be                  multiplayer embodiments, the action of a first player can
  played at optimum skill level.                                      25   affect the game outcome of a second player, for example, in
     In some central determination system (CDS) embodi                     the depletion of a resource available to both a first player and
  ments, each pre-determined outcome is pre-assigned a Play                a second player.
  field. In some embodiments, said pre-determined outcomes                    In still further embodiments, the one or more games of
  stored in a shuffled ordered and are accessed in a linear order          skill comprise a racing game, wherein a player races on a
  wherein each pre-determined outcome can only be accessed            30   track to achieve the best track time within a given time
  once. In some embodiments, said pre-determined outcomes                  frame. In some other embodiments, the one or more games
  stored in a shuffled or unshuffled ordered and are accessed              of skill comprise a racing game, wherein a player races on
  in a shuffled order wherein each pre-determined outcome                  a track to achieve the greatest distance travelled within a
  can only be accessed once. In some CDS embodiments, if                   given timeframe.
  the player input skill applied during a given game session          35      In some embodiments, the video game control comprises
  has not produced the Key Score required to achieve the                   one or more of a gamepad, a paddle, a joystick, a trackball,
  Maximum Available Payout attainable in said game session,                a throttle quadrant, a steering wheel, a yoke, pedals, a
  an additional prize is awarded to the player so as to guar               keyboard, a mouse, a touch screen, a motion sensor, a light
  antee the full Maximum Available Payout associated with                  gun, a rhythm game controller, a console game controller
  the corresponding pre-determined outcome for said game              40   (e.g., an Xbox controller, a PlayStation controller, a Wii
  session.                                                                 controller, and the like). In some embodiments, the game is
     In some embodiments, the Paytable has a first payout                  displayed on one or more display devices including a video
  associated with a first Key Score and a second payout                    display, a 3D display, an LCD display, projected image
  associated with a second Key Score, wherein only the                     display or any suitable display. In some embodiments, the
  highest payout of said payouts is awarded. In some embodi           45   gaming machine comprises external facades that are revers
  ments, the mapping of Key Score and payouts does not                     ibly applied to a plurality of external Surfaces of the gaming
  change from game to game. In some embodiments, the                       machine. In further embodiments, the external facades are
  mapping of Key Score and payouts of a first Playfield is not             magnetically reversibly applied.
  the same as for a second Playfield. In some embodiments,                    In some embodiments, a game of skill ends when the
  the highest Key Score listed on said Paytable is lower than         50   player achieves Maximum Attainable Key Score and Maxi
  the highest possible Key Score for at least a first Playfield.           mum Available Payout. In some embodiments, the player
  For example, a Paytable whose top award is defined by                    ends a game of skill at any time when satisfied with their
  successfully downing 10 or more targets or a Paytable whose              results. In some embodiments, the player makes a percent
  top award is defined by Successfully completing a task                   age of original bet to restart a game of skill. In some
  within a certain time period or less.                               55   embodiments, the player quits a game of skill at any time to
     In some embodiments, the one or more games of skill                   move to a next game of skill. In some embodiments, the
  include, but are not limited to (a) a maze game; or (b) a                gaming machine accepts a player's extra bet that a Key
  sports game; or (c) a spelling game; (d) or a catching game;             Score will be achieved. In some embodiments, the player
  or (e) an avoiding game; or (e) a balancing game; or (f) a               makes extra bets during the game of skill based on the
  drawing game; or (g) a collecting game; or (h) a first-person       60   progress of the game. In some embodiments, the player has
  shooting game; or (i) a side view projectile game; or () a top           only one chance to achieve a specific Key Score. In some
  view projectile game; or (k) quartering view projectile                  embodiments, the application further comprises a software
  game; or (1) an exercise-based game; or (m) a role playing               module configured to allow the player to play in a practice
  game (RPG); or a racing game; or (n) a fighting game; or (o)             mode with a small price without betting or returns.
  a massively multiplayer online role-playing game                    65      In some embodiments, the bet accepted by the VGM is
  (MMORPG); or (p) a matching game; or (q) a hidden object                 monetary currency or its equivalent provided through a
  game; or (r) a word finding game; or (s) a word construction             cashless wagering system, such as a Ticket-In-Ticket-Out
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  (“TITO”) ticket. In some embodiments, the bet accepted by             number of actual wagers and payouts. Thus each of the two
  the VGM is one or more tokens or some other form of                   specific varieties of RTP are defined with their own unique
  alternate currency. In some embodiments, play on a VGM is             terms.
  awarded as part of a promotional event. In some embodi                  The term “expected Return To Player” or eRTP refers the
  ments, the VGM awards monetary currency prizes or its                 traditional definition of RTP as a reflection of the math
  equivalent. In some embodiments, the VGM awards tokens                ematically expected long-term player payback.
  or some other form of alternate currency. In some embodi                 The term “actual Return To Player” or “aRTP” refers to
  ments, the VGM awards points for a player loyalty card                the ratio of total actual payouts to total actual wagers over
  program. In some embodiments, the VGM awards points or                a given period of time or specific number of games for a
  virtual currency to be used in an alternate game and/or game     10   specific math model implemented on a particular gaming
  Playfield. In some embodiments, the VGM awards physical               machine or implemented by one or more gaming machines.
  prizes such as a car, show tickets, buffet tickets, a com                There are many forms of 'skill that can apply to games
  memorative coin, or any other suitable physical prize. In             of chance. If not otherwise modified, the term "skill within
  some embodiments, the VGM awards one or more entries                  the present disclosure refers to “video game skill defined
  into a Sweepstakes drawing. In some embodiments, the             15   below.
  VGM awards a progressive jackpot. In some embodiments,                  The term “video game skill refers to time-sensitive
  the VGM awards a bonus prize redemption event.                        inputs which can be sub-categorized into “twitch skill and
     In some embodiments, the methods, systems, and media               “manual skill.”
  described herein include a gaming machine, or use of the                 The term “twitch skill' or “twitch game' refers physical
  same. In further embodiments, the gaming machine includes             skill involving specific timing, and/or positioning and/or
  one or more hardware central processing units (CPU) that              movement control which requires a certain level of hand-eye
  carry out the device's functions. In still further embodi             coordination.
  ments, the gaming machine further comprises an operating                 The term “manual skill refers to physical skill merely
  system configured to perform executable instructions. In              consisting of activating a device input, said activation not
  Some embodiments, the gaming machine is optionally con           25   requiring any special timing or dexterity, e.g., pressing a
  nected a computer network. In further embodiments, the                button, pressing a non-moving area of a touch screen whose
  gaming machine is optionally connected to the Internet Such           hotspot is significantly larger than the contact point of a
  that it accesses the World WideWeb. In Still further embodi           finger or stylus, clicking a mouse button, trackball button, or
  ments, the gaming machine is optionally connected to a                controller button when the corresponding cursor or pointer
  cloud computing infrastructure. In other embodiments, the        30   is positioned within a non-moving area of the display whose
  gaming machine is optionally connected to an intranet. In             hotspot is significantly larger than cursor or pointer. A
  other embodiments, the gaming machine is optionally con               well-known example of manual skill in the gaming industry
  nected to a data storage device.                                      is the very rapid pressing of the SPIN button on a slot
                                                                        machine during a slots tournament.
                   CERTAIN DEFINITIONS                             35      The term “pseudo-skill refers to game mechanisms
                                                                        which falsely try to make it appear that twitch-skill like input
    Unless otherwise defined, all technical terms used herein           affects the final outcome, when in fact the final outcome will
  have the same meaning as commonly understood by one of                be the same irrespective of Such inputs.
  ordinary skill in the art to which this invention belongs. As            The term “strategic skill refers a knowledgeable choice
  used in this specification and the appended Claims, the          40   made by the player to directly or indirectly improve their
  singular forms “a,” “an, and “the' include plural references          chance of winning and/or increasing the amount of their
  unless the context clearly dictates otherwise. Any reference          winnings. Within the gaming industry, games such as video
  to “or herein is intended to encompass “and/or unless                 poker, blackjack and many varieties of poker require non
  otherwise stated.                                                     trivial skill for a given player to optimize their expected
  Gaming Industry Terms                                            45   payback. Similarly, there are numerous video games
     The following terms, often used within the gaming indus            wherein the player makes numerous strategic decisions,
  try, are defined for clarity:                                         either with or without time limits based on the game rules.
     The term “game session” refers to the totality of time from           The term “blind choice” describes a mechanism by which
  the acceptance of a player wager and corresponding start of           the player makes a blind choice to reveal an outcome or
  play until the end of all play Such that a new wager can be      50   payout. For example, like selecting one of three covered
  accepted.                                                             boxes to see how many free spins are awarded in the
     The term “play session” refers to the totality of time from        Subsequent free spins bonus round. Though some players
  insertion or activation of funds until the player leaves the          may believe it is possible to obtain better than average
  game. A play session usually includes one or more game                results by spotting patterns within a sequence of truly
  sessions.                                                        55   random outcomes or having special psychic abilities, there
     The term “payout” refers to type of award paid for a               is no scientific evidence to Support such beliefs.
  winning outcome. Such prizes are often a specific multiple               The term “Paytable' refers to a summary listing of
  of part or all of the wagers placed on the game, though               winning outcomes and their respective payout. In practice,
  additional types of prizes shall be presented later in the            Paytables often include some of the game rules Such as
  present disclosure.                                              60   “Malfunction voids all pays and play” and “Only highest
     The term “Return To Player,” often referred to in the              winner paid.” The term “See Pays.” which is not otherwise
  gaming industry and corresponding regulatory agencies by              used in this disclosure, refers to all of the Paytables appli
  the acronym “RTP, means the mathematically expected                   cable to the given game plus all stated rules.
  long-term player payback percentage of a gaming proposi               Invention-Specific Terms
  tion. However, for the purposes of the present disclosure,       65      The term “video game skill refers to time-sensitive
  there is a need to differentiate between this traditional             inputs which can be sub-categorized into “twitch skill and
  interpretation of RTP and actual RTP based on a fixed                 “manual skill.”
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     The following terms are used within the present disclo                computers, netpad computers, set-top computers, media
  sure to describe the present invention.                                  streaming devices, handheld computers, Internet appliances,
     The term “VGM' or “Video Game Gaming Machine” is                      mobile Smartphones, tablet computers, personal digital
  a gaming device similar to a slot machine which allows                   assistants, video game consoles, and vehicles. Those of skill
  players to place wagers and have control over the outcome                in the art will recognize that many Smartphones are Suitable
  of Such wagers via skillful input by the player during game              for use in the system described herein. Those of skill in the
  play. AVGM is used by players to engage in activities Such               art will also recognize that select televisions, video players,
  as gambling or wagering. More specifically, a VGM is a                   and digital music players with optional computer network
  computer-implemented system, or a non-transitory com                     connectivity are suitable for use in the system described
  puter-readable storage media encoded with a computer                10   herein. Suitable tablet computers include those with booklet,
  program including instructions executable by a processor                 slate, and convertible configurations, known to those of skill
  which is an embodiment of the present invention.                         in the art. In some embodiments, gaming machines are used
     The term “Playfield’ refers to all of the game elements               for activities Such as gambling and wagering.
  and game parameters which can affect the play and/or pay                   In some network-based embodiments, a client-server
  characteristics of the game session in which it is instantiated.    15   architecture provides random Playfield selection to only
  The Playfield for a given game session is usually selected               occur on at least one secure server Such that hacked or
  randomly at the start of each game session.                              otherwise compromised client software affect the maximum
     The term “Playfield Selection Pool” refers to a plurality of          possible prize available within any given game.
  available Playfields from which the specific Playfield for a                In some embodiments, the gaming machine includes an
  given game session is to be selected.                                    operating system configured to perform executable instruc
     The term “Key Score” refers to the tally or metric or any             tions. The operating system is, for example, Software,
  other suitable result from playing some embodiments of the               including programs and data, which manages the device's
  present invention and which is used for the determination of             hardware and provides services for execution of applica
  payouts, if any. For example, the number of targets downed               tions. Those of skill in the art will recognize that suitable
  in a shooting game is a Key Score if the Paytable is defined        25   server operating systems include, by way of non-limiting
  So at to award prizes based on total number of targets                   examples, FreeBSD, OpenBSD, NetBSDR), Linux, Apple(R)
  downed.                                                                  Mac OS X Server R, Oracle Solaris(R), Windows Server R,
     The term “Secondary Score” refers to any other type of                and Novell(R) NetWare(R). Those of skill in the art will
  tally or metric or any other result from playing some                    recognize that Suitable personal computer operating systems
  embodiments of the present invention which is not directly          30   include, by way of non-limiting examples, Microsoft(R)
  used for the determination of payouts. For example, the                  Windows(R), Apple(R) Mac OS X(R), UNIX(R), and UNIX-like
  number of consecutive hits on target without a miss.                     operating systems such as GNU/Linux(R). In some embodi
     The term “Qualifying Key Score' is a Key Score which                  ments, the operating system is provided by cloud computing.
  corresponds to a non-zero payout.                                        Those of skill in the art will also recognize that suitable
     The term “Maximum Attainable Key Score” refers to                35   mobile Smart phone operating systems include, by way of
  highest Key Score that can be achieved from the skillful play            non-limiting examples, Nokia R Symbian(R) OS, Apple(R)
  of a given Playfield.                                                    iOS.R., Research In Motion R. BlackBerry OSR), Google(R)
     The term “Maximum Available Payout” refers to highest                 Android R, Microsoft(R) Windows PhoneR OS, Microsoft(R)
  payout associated with the Maximum Attainable Key Score.                 Windows MobileR OS, Linux(R), and PalmR) WebOS(R).
  Each Playfield is constructed in such a way as to have a            40   Those of skill in the art will also recognize that suitable
  Maximum Attainable Key Score and corresponding Maxi                      media streaming device operating systems include, by way
  mum Available Payout.                                                    of non-limiting examples, Apple TV(R), Roku(R), Boxee.R.,
     The term "Payout Level” refers to a specific Maximum                  Google TV(R), Google Chromecast(R), Amazon FireR), and
  Available Payout and/or all Playfields with said Maximum                 Samsung R. HomeSyncR). Those of skill in the art will also
  Available Payout.                                                   45   recognize that Suitable video game console operating sys
     The term "Optimal Skill refers to the application of                  tems include, by way of non-limiting examples, Sony R.
  video game skill (defined earlier) sufficient to earn the                PS3(R), Sony(R) PS4(R), Microsoft(R) Xbox 360R, Microsoft
  Maximum Available Payout within a given Playfield. Opti                  Xbox One, Nintendo (R) Wii R, Nintendo R. Wii UR, and
  mal Skill does not necessarily mean perfect skill or best                Ouya(R).
  possible skill. For example, in a game whose Paytable               50      In some embodiments, the gaming machine includes a
  defines a winning outcome as being within a range of Key                 storage and/or memory device. The storage and/or memory
  Scores, such as “5 or 6 downed targets pays 2x or “10 or                 device is one or more physical apparatuses used to store data
  more downed targets pays 20x, any applied video game                     or programs on a temporary or permanent basis. In some
  skill which attains the lowest Key Score required for a given            embodiments, the device is Volatile memory and requires
  Maximum Available Payout is deemed optimal skill, even if           55   power to maintain stored information. In some embodi
  the application of a greater level of skill could attain a higher        ments, the device is non-volatile memory and retains stored
  Key Score for the same payout within a given Playfield.                  information when the digital processing device is not pow
     The term “Sub-Optimal Skill refers to the application of              ered. In further embodiments, the non-volatile memory
  video game skill which is unable to earn the Maximum                     comprises flash memory. In some embodiments, the non
  Available Payout.                                                   60   Volatile memory comprises dynamic random-access
     Other invention-specific terms are defined at time of first           memory (DRAM). In some embodiments, the non-volatile
  use within the present disclosure.                                       memory comprises ferroelectric random access memory
  Gaming Machine                                                           (FRAM). In some embodiments, the non-volatile memory
     In accordance with the description herein, Suitable gam               comprises phase-change random access memory (PRAM).
  ing machines include, by way of non-limiting examples,              65   In other embodiments, the device is a storage device includ
  server computers, desktop computers, laptop computers,                   ing, by way of non-limiting examples, CD-ROMs, DVDs,
  notebook computers, Sub-notebook computers, netbook                      flash memory devices, magnetic disk drives, magnetic tapes
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  drives, optical disk drives, and cloud computing based                 comprises external facades that are reversibly applied to a
  storage. In further embodiments, the storage and/or memory             plurality of external Surfaces of the gaming machine. In still
  device is a combination of devices such as those disclosed             further embodiments, the external facades are magnetically
  herein.                                                                reversibly applied.
     In some embodiments, the gaming machine includes a                  Math Model
  display to send visual information to a user. In some                    In some embodiments, the methods, systems, and media
  embodiments, the display is a cathode ray tube (CRT). In               described herein include a math model, or use of the same.
  Some embodiments, the display is a liquid crystal display              In some embodiments, a math model describes the adapta
  (LCD). In further embodiments, the display is a thin film              tion of games of skill into a gaming machine wherein the
  transistor liquid crystal display (TFT-LCD). In some              10   math model balances player skill, game challenges, and
  embodiments, the display is an organic light emitting diode            random elements to map a probable series of outcomes for
  (OLED) display. In various further embodiments, on OLED                all players.
  display is a passive-matrix OLED (PMOLED) or active                      In some embodiments, a math model includes a fixed
  matrix OLED (AMOLED) display. In some embodiments,                     Paytable. In some embodiments, a Paytable winning out
  the display is a plasma display. In other embodiments, the        15   come defines the same prize for finishing within the same
  display is a video projector. In still further embodiments, the        time range irrespective of the Playfield which a player is
  display is a combination of devices Such as those disclosed            playing. In some embodiments, a math model provides a
  herein. In yet other embodiments, the display is a head                calculated eRTP (expected Return To Player) based on
  mounted display in communication with the digital process              optimal play of each Playfield wherein not every payout is
  ing device, such as a VR headset. In further embodiments,              attainable within every Playfield. In some embodiments, the
  suitable VR headsets include, by way of non-limiting                   math model includes payouts from bonus events. In some
  examples, HTC Vive, Oculus Rift, Samsung Gear VR,                      embodiments, a bonus event occurs at least once in every
  Microsoft HoloLens, Razer OSVR, FOVE VR, Zeiss VR                      game. In some embodiments, a bonus event is not guaran
  One, Avegant Glyph, Freefly VR headset, and the like. In               teed to occur at least once in every game. In some embodi
  still further embodiments, the display is a combination of        25   ments, bonus events occur randomly. In some embodiments,
  devices such as those disclosed herein.                                bonus events occur based on Some event, such as when the
     In some embodiments, the gaming machine includes an                 VGM detects a certainly level of sub-optimal play.
  input or communication device to receive information from                 Referring to FIG. 5, in a particular embodiment, a math
  a user, which may also comprise a graphical user interface.            model of a race game is described wherein a diagram
  Video Game Gaming Machine (VGM)                                   30   displays the payout to be awarded to the player relative to his
     In some embodiments, a video gaming game machine has                actual finish time while playing in different Payout Levels or
  the form of a traditional slot machine or arcade cabinet but           track groups of race games. In further embodiments, the
  the unique player experience brings a new element of skill             game design (specifically the weightings for eRTP) relies on
  to the casino floor. In some embodiments, a video gaming               the concept of optimum play. In some embodiments, opti
  game machine allows players to engage in activities such as       35   mum play specifies that eRTP be calculated assuming the
  gambling and wagering. In some embodiments, a video                    player performs optimally and therefore receives the Maxi
  gaming game machine utilizes all approved hardware com                 mum Available Payout while playing each game.
  ponents similar to traditional slot machines. In some                     In some embodiments, the math model is applicable to the
  embodiments, a video game gaming machine works using a                 entire range of both core and casual games, including racing
  math model that balances player skill, game difficulty, and       40   games, fighting games, first-person shooters (FPS), plat
  random bonuses to map a probable series of outcomes for all            forms, action-adventure games as well as casual games Such
  players. In some embodiments, a video game gaming                      as Tetris, “Match 3 games, and other common formats. In
  machine comprises at least one processor, an operating                 further embodiments, the same game balancing techniques
  system configured to perform executable instructions, and a            in a math model is applicable to all game genres.
  memory.                                                           45   Playfield
     Referring to FIG. 1, in a particular embodiment, a pro                 In some embodiments, Playfields are chosen from a
  totype video game gaming machine is provided to create a               Playfield Selection Pool using a random number generator.
  single player or multiplayer experience that replaces tradi            In some embodiments, aRTP (actual Return To Player) is
  tional reel slot machines, wherein players bet against the             managed by adjusting the weighting selection of Playfields
  house while competing in multiplayer video games. In some         50   from the Playfield Selection Pool relative to the Maximum
  embodiments, a video game gaming machine is played very                Available Payout inherent within each Playfield.
  similarly to a traditional slot machine but will allow the                In some embodiments, Playfields are chosen from a
  player to have control over the outcome of the game while              Playfield Selection Pool based on some secondary indepen
  still providing the required eRTP (expected Return To                  dent event such as, but not limited to, (a) an electronic bingo
  Player).                                                          55   game; or (b) an electronic scratcher game; or (c) a result of
     In some embodiments, a video game gaming machine sets               a sporting event or any portion thereof, or (d) a horse racing
  a Playfield for the player to play games using a video game            outcome; or (e) a dog racing outcome; or (f) a Jai alai
  controller and to post the player's best Key Score within a            outcome or any portion thereof or (g) the tossing of one or
  given playing time. In some embodiments, a video game                  more coins; or (h) the throwing or rolling of one or more
  gaming machine presents a fixed Paytable to the player,           60   dice; or (i) playing of a slot game; or () playing of a card
  wherein the Paytable presents a plurality of payouts based             game; or (k) the spinning of a wheel; of (1) any other
  on a player's different possible Qualifying Key Scores. In             Suitable mechanism or process which produces an unpre
  Some embodiments, a video game gaming machine distrib                  dictable results; or (m) any combination thereof.
  ute a payout to the player using a fixed Paytable based on the            In some embodiments, a Playfield allows players to bet
  player's best Key Score of the provided games of skill.           65   and then have a set time (e.g., under: 60) to play and post
     In some embodiments, a gaming machine includes one or               their best Key Score. In some embodiments, a Playfield
  more facades. In further embodiments, the gaming machine               allows players to bet and then have a set time (e.g., under:
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  60) to play and post their secondary Key Score. In some                theoretical and mathematical game performance. Referring
  embodiments, a Playfield displays a leaderboard tracking the           to FIG. 9, in a particular embodiment, a table of basic
  progress of all players and provides additional prizes and             elements of a track in a race game is provided including:
  bonuses, potentially connected to Social media.                        start, finish, Straight, left corner and right corner, wherein
  Game Paytable                                                          each segment of a track can be converted into spots or cells
     Referring to FIG. 3, in a particular embodiment, a simple,          whereby each cell takes one (1) millisecond to traverse.
  fixed Paytable is provided with five potential Payout Levels              In some embodiments, a Maximum Attainable Key Score
  of Maximum Available Payout outcomes based on wager of                 is computed through mathematical calculations using algo
  1 credit for a video game. In some embodiments, a winning              rithms such as A* Search Algorithm or Dijkstra's Algorithm
  outcome is the minimum time the player must score to              10   or similar methods for finding the shortest, or optimum, path
  receive the corresponding payout and provides a simple                 between nodes in a graph, which may represent a track in a
  visual cue for the player and connection to traditional slot           race game or path on the field in a sports game.
  machines.                                                                 In some embodiments, a Maximum Attainable Key Score
  Return to Player (RTP) Management                                      is enforced through game design and implementation, to
     In some embodiments, the methods, systems, and media           15   ensure the player achieves the Maximum Available Payout.
  described herein include a Return To Player management                 In some embodiments, a Maximum Attainable Key Score is
  system, or use of the same. In some embodiments, a mini                enforced through game design and implementation, to
  mum Return To Player in a casino machine is set by                     ensure the player achieves the minimum payout. Referring
  government regulations. In some embodiments, a minimum                 to FIG. 15, in a particular embodiment, a table of basic
  Return To Player is set at 75%. In some embodiments, a                 elements in a first-person action game is provided including:
  minimum Return To Player is set at 83%.                                Normal Enemies and Invincible Enemies, whereby Normal
     In some embodiments, aRTP (actual Return To Player) is              Enemies may be eliminated by the player in normal game
  managed by adjusting the selection weights Playfields from             play, and Invincible Enemies may not be eliminated by the
  the Playfield Selection Pool, wherein each Playfield has a             player in normal gameplay. By controlling the weighted
  maximum possible Key Score which may or may not be                25   distribution of Normal and Invincible Enemies, the game is
  associated with a payout. In some embodiments, aRTP                    able to ensure a specific aRTP (actual Return To Player).
  (actual Return To Player) is managed by adjusting the value            Also referring to FIGS. 16-20, tables of basic elements plus
  of a variable size bonus award Such as by adjusting the                different Chicken Dinner S payouts relative to different
  weights associated with the random selection of any given              respective bet sizes, such as S1 Chicken for FIG. 16. S2
  instance of said variable bonus award selection. In some          30   Chicken for FIG. 17, S3 Chicken for FIG. 18, S5 Chicken for
  embodiments, aRTP (actual Return To Player) is managed                 FIG. 19, S25 Chicken for FIG. 20.
  by forcing a specific value to be awarded for a given a                Optimal Skill Play
  variable size bonus award. In some embodiments, aRTP                      The present invention includes the means to select or
  (actual Return To Player) is managed by adjusting frequency            construct a Playfield for a given game session whose maxi
  with which bonus events are triggered. In some embodi             35   mum possible Key Score, based on the application of
  ments, aRTP (actual Return To Player) is managed by                    Optimal Skill, cannot exceed a specific value. A Key Score
  awarding the player extra time in order to achieve the                 which represents the highest possible Key Score for a given
  maximum possible Key Score if current progress within the              Playfield is called a Maximum Attainable Key Score. In
  game session implies that the player will not achieve said             some embodiments, all Maximum Attainable Key Scores are
  maximum possible Key Score otherwise. In some embodi              40   Qualifying Key Scores. In some embodiments, at least one
  ments, aRTP (actual Return To Player) is managed by                    Maximum Attainable Key Score is not a Qualifying Key
  awarding all players extra time in Playfields with larger              Score.
  payouts to better assure that most players will be able to earn           Embodiments in which at least one payout on the Paytable
  the entirety of the maximum possible award for said Play               awards a prize larger than the product of eRTP and the
  field.                                                            45   corresponding wager (which is true with every known
     Referring to FIG. 4, in a particular embodiment, a table is         casino gaming machine), require at least one Playfield
  provided to provide a 75% eRTP based on a game Paytable                whose Maximum Attainable Key Score does not qualify for
  for a race game. In some embodiments, eRTP (expected                   that payout.
  Return To Player) is calculated as the sum of the multipli                Let's consider a simple example wherein the player
  cation of the payout of each Payout Level and the chance of       50   controls a virtual golfer at a virtual driving range. This is a
  selecting a Playfield from said Payout Level.                          3 button push game. The first button push starts the game,
  Maximum Attainable Key Score                                           causing the virtual golfer begin its back Swing. The second
     In some embodiments, the methods, systems, and media                button press is to optimally occur when the virtual golfer is
  described herein include a Maximum Attainable Key Score,               at the perfect top of their swing for furthest distance. Making
  or use of the same. In some embodiments, a Maximum                55   the second press before this point, or after this point, or not
  Attainable Key Score represents the best possible game                 at all will adversely affect the power of the Swing. The third
  performance a player with the best skill and dexterity                 button press is to optimally occur is the instant the virtual
  achieves given the assigned Playfield. In some embodi                  club touches the virtual ball at the fastest part of the swing.
  ments, a Maximum Attainable Key Score is associated with               As with the second button press, making a third button press
  a maximum payout. In some embodiments, a Maximum                  60   too early or too late or not at all will adversely affect the
  Attainable Key Score is associated with a non-maximum                  power of the Swing.
  payout. In some embodiments, a Maximum Attainable Key                     The Key Score in this sample game is the distance the
  Score is associated with no payout. In some embodiments,               virtual golf ball travels. If the virtual ball travels 220 virtual
  eRTP (expected Return To Player) is calculated based on the            yards, the player wins twice their wager. If the virtual ball
  Maximum Attainable Key Score.                                     65   travels between 200 and 219 virtual yards, the player wins
     In some embodiments, a Maximum Attainable Key Score                 0.75% of their wager. If the virtual ball travels less than 200
  is computed through software simulator to find the best                virtual yards, the player wins half of their wager. The game
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  is comprised of three different Playfields: Field 1 has a 10             Sub-Optimal Skill Play Payout Compensation
  mph tail win which will results in the virtual golf ball                    For regulatory and/or for business reasons, there is a need
  travelling over 220 virtual yards if the second and third                to restrict the long-term impact of Sub-Optimal Skill on
  button presses each occur within 10 microseconds of perfect              aRTP. In some embodiments of the present invention, sub
  timing; Field 2 has a 5 mph head windwin which will results         5    optimal play increases the likelihood of and/or value from,
  in the virtual golf ball travelling at least 200 virtual yards if        additional payout sources.
  the second and third button presses each occur within 10                    Is some embodiments, at least one award provides a
  microseconds of perfect timing, but will not result in the               variable payout. The value of said variable payout is ran
  virtual golf ball travelling at 220 or more virtual yards if the         domly selected by a secondary determination. The weights
  second and third button presses each occur exactly at the           10   incorporated into the weighting tables used in the selection
  point of perfect timing; Field 3 has a 20 mph head win, result           of an award value from an array of possible award values are
  in the virtual golf ball travelling less than 200 virtual yards          modifiable based on the level of skill. The lower the skill, the
  even if the second and third button presses each occur                   higher the weight values are skewed such that the average
  exactly at the point of perfect timing.                                  expected value correspondingly increases.
     When the player activates a game session with a first            15      In some embodiments, at least one special award is
  button press, the VGM (video game gaming machine)                        occasionally provided which is not based on a Key Score. In
  randomly selects one of the three Playfields via a weighted              Some embodiments, at least one special award is occasion
  table where Field 1 has a weight of 20, Field 2 has a weight             ally provided which directly increases the Key Score. In
  of 40, and Field 3 has a weight of 40 which is indexed by                some embodiments, the probability of the awarding of a
  a random integer uniformly selected from 1 to 100 inclu                  special award increases based on the lack of determined
  sively. Therefore, Field 1 has a 20% chance of being                     skilled.
  selected, Field 2 has a 40% chance of being selected, and                   In some embodiments, said special award is redeemable
  Field 3 has a 40% chance of being selected.                              by a given player with based on an input requiring minimal
     The eRTP (expected Return To Player) of this sample                   if any dexterity, timing and/or hand-eye coordination. In
  game for Optimal Skill play can be calculated as the sum of         25   Some embodiments, said special award is awarded to the
  the eRTP of each payout, which is in turn calculated as the              player automatically without any inputs. In some embodi
  payout value times the probability of occurrence of that                 ments, if a said special award is redeemable by a given
  payout.                                                                  player with based on an input requiring minimal if any
    Therefore, for optimal play                                            dexterity, timing and/or hand-eye coordination but has not
                                                                      30   been redeemed within a specified amount of time, said
        eRTP(game)=(award1*probability1)+                                  special award is awarded to the player automatically within
            (award2*probability2)+(award3*probability3)                    any inputs. In some embodiments, said special award is
                                                                           redeemable by a given player based on at least one input
                                                                           requiring some level of dexterity, timing and/or hand-eye
                                                                      35   coordination, wherein the amount of dexterity, timing and/or
        =90.0%
                                                                           hand-eye coordination required is greater as determined skill
                                                                           level increases. For example, a game in which a player who
  Sub-Optimal Skill Play Detection                                         is playing with Optimal Skill is provided a special award that
     Sub-Optimal Skill is the application of skill which does              is unlikely to be redeemed without affecting Key Score, and
  not and cannot achieve the Maximum Attainable Key Score             40   a player is playing with low skill is provided an award that
  for the given Playfield, typically caused by player error or             is unlikely not to be redeemed.
  significantly less-than-perfect player input.                               Returning to the previous golf simulation game example,
     In some embodiments of the present invention, Sub                     if the Playfield randomly selected for a given player has a
  Optimal Skill is determined via an aRTP calculation based                Maximum Attainable Key Score (say in excess of 220
  on all prior completed play on a given machine or on a group        45   virtual yards) which awards a first payout (2x the wager),
  of equivalent machines. In some embodiments, Sub-Optimal                 but said player's skill in insufficient to achieve that skill,
  Skill is determined via an aRTP calculation based on no                  then an alternate payout Source is provided relative to said
  more than the last N prior completed play on a given                     player's actual Key Score. For example, if said players
  machine or on a group of equivalent machines. In some                    virtual golf ball travels at least 180 virtual yards (and is
  embodiments, Sub-Optimal Skill is determined via an aRTP            50   thusly eligible for an award 0.75x the wager), then a special
  calculation based on prior completed play within the current             award of actual or average value of 1.25x the wager pro
  play session. In some embodiments, Sub-Optimal Skill is                  vides the same expected payout as for high skill players. The
  determined via an aFTP calculation based on prior com                    special award appears as a virtual gopher appears on the
  pleted play of all players. In some embodiments, Sub                     virtual landing Zone the striking of which awards a prize
  Optimal Skill is determined via an aRTP calculation based           55   whose average payout is 1.25x the wager. Had said player
  on prior completed play of the current player. In some                   played at a high-enough level of skill to have achieved the
  embodiments, unawarded potential payouts are tracked.                    max possible award for said selected environment, the
     In some embodiments, Sub-Optimal Skill is determined                  displayed result shows the virtual golf ball in flight travel
  by current Key Score at a particular time within a game                  ling over said virtual gopher. If said player's virtual golf ball
  session. In some embodiments, Sub-Optimal Skill is deter            60   travels at least 120 virtual yards but not more than 180
  mined by considering overall game progress. For example,                 virtual yards (and is thusly eligible for an award of 0.50x the
  in a shooting game whose targets require multiple hits to                wager), then a special award of actual or average value of
  down, a progress measurement would include both downed                   1.50x the wager provides the same expected payout as for
  targets and not-yet-downed targets hit. In some embodi                   high skill players. If said player's virtual golf ball travels
  ments, Sub-Optimal Skill is determined by considering one           65   less than 120 virtual yards a different award redemption
  or more metrics at a particular time within a game session               experience is provided to the player for thematic consis
  where none of said metrics is the Key Score.                             tency. Specifically, a result in which the virtual ball travels
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  less than 120 virtual yards is designated as a non-qualifying           restart,” wherein a player makes a percentage of original bet
  drive and a virtual golf shop is displayed to the player                to restart a game of skill. In further embodiments, a faster
  wherein the player is instructed to make at least one blind             player pace is achieved through "one and done.” wherein a
  pick. The average expected value from a given virtual golf              player has only one chance to achieve a specific Key Score.
  shop picking round is comparable or equal to the Maximum           5    Practice Mode
  Available Payout value associated with the given Playfield.                In some embodiments, the methods, systems, and media
     In some embodiments, the average expected value of a                 described herein include practice mode, or use of the same.
  variable-sized award is used to offset any prior under pay              In some embodiments, a player gains familiarity with a
  ments. In some embodiments, the actual value awarded from               game of skill while playing in a practice mode. In some
  a variable-sized award is used to offset any prior under           10
                                                                          embodiments, the VGM allows players to practice, without
  payments. In some variation, both payment Surpluses and                 betting or returns, for the same “price' as the casino's hold.
  deficits are considered. In some other variation, if a given            For example, in Ohio the lowest acceptable eRTP is 85%
  gaming systems pays out more than the current payout                    which corresponds to an expected, long-term theoretical
  deficit, the deficit is merely zeroed.
  Proposition Rate                                                   15   casino hold is 15%. On a S1 VGM, players would be able to
     In some embodiments, the methods, systems, and media                 practice for S0.15 per play. In this way, casinos are gener
  described herein imply a maximum proposition rate based                 ating the same revenue per unit while allowing players to
  on the minimum possible time between initiating two inde                gain familiarity with these new games.
  pendent wagers on the same device. The pace of player                      In some embodiments, practice mode may also allow the
  betting is critical to VGM (and casino) profitability. Slot             player to earn and collect virtual currency which may be
  machines have optimized player pace to near Zombie-like                 redeemed for prizes or rewards. In this way, casinos are able
  speeds of one bet every 3-4 seconds with the player simply              to provide a social gaming experience similar to online and
  waiting for the next random outcome. Player pace improve                mobile games.
  ments are implemented to suit different players' preferences            API or SDK
  of pace and to achieve optimal profits for the casinos. In         25      In some embodiments, the methods, systems, and media
  Some embodiments, the video game gaming machine com                     described herein include an API (Application Programming
  prises player pace improvement methods including, by way                Interface) or SDK (Software Development Kit), or use of the
  of non-limiting examples:                                               same. In some embodiments, an API or SDK is used to adapt
     Auto End-race ends automatically if top payout is                    popular games of skill to a gaming machine by balancing
  achieved;                                                          30   player skill, game challenges, and random elements to map
     End Early player is able to end race at any time when                a probable series of outcomes for all players. In some
  satisfied with their results;                                           embodiments, an API or SDK is applicable to the entire
     Paid Restart players may pay a percentage of original                range of both core and casual games, including racing
  bet to restart at track start:                                          games, fighting games, first-person shooters (FPS), as well
     Second Chance players may pay a percentage of origi             35   as casual games Such as Tetris, "Match 3 games, and other
  nal bet to race track again;                                            common formats. In further embodiments, the same game
     Double Up player may pay to double bet at halfway                    balancing techniques in a math model is applicable to all
  point during race;                                                      game genres.
     Special Bets—player is able to bet they will exceed result              In some embodiments, an API or SDK adapting popular
  or achieve goal                                                    40   games to a gaming machine presents a simple, fixed Pay
     Progress Bets—player is able to make bets during each                table to players regardless of games type which are played.
  game based on progress                                                  In some embodiments, an API or SDK adapting popular
     Rage Quit player is able to quit at any time if they want            games to a gaming machine manages Return To Player
  to move to next race;                                                   percentage through the math model without interfering with
     One & Done player has only one chance to achieve a              45   the settings of said popular games. In some embodiments, an
  specific goal or result.                                                API or SDK adapting popular games to a gaming machine
     In some embodiments, a faster player pace increases                  manages Return To Player percentage based on optimum
  casino profitability while maintaining, or even increasing,             play on the games of skill.
  player enjoyment and engagement. In some embodiments, a                    In some embodiments, an API or SDK adapting popular
  player pace of 4-6 or more decisions per minute is achieved        50   games to a gaming machine presents players exactly the
  on the VGM formats through a variety of innovations and                 same Playfield in a gaming machine as in a non-gaming
  formats. In further embodiments, a faster player pace is                machine. In some embodiments, an API or SDK adapting
  achieved when a game of skill end through “auto end.”                   popular games to a gaming machine provides players Play
  wherein a player achieves Maximum Attainable Key Score                  field chosen from a game pool using a random number
  and Maximum Available Payout. In further embodiments, a            55   generator comprising: a first random number used to choose
  faster player pace is achieved through “end early, wherein              a Payout Level; and a second random number used to choose
  a player ends a game of skill at any time when satisfied with           a specific Playfield within the already chosen Payout Level.
  their results. In further embodiments, a faster player pace is          Video Game Controller
  achieved through “special bets, wherein a player makes                     In some embodiments, the gaming machine includes a
  extra bet that he will exceed a certain Key Score. In further      60   Video game controller to receive information from a user. In
  embodiments, a faster player pace is achieved through                   Some embodiments, the video game controller comprises a
  “progress bets, wherein a player makes extra bets during                keyboard. In some embodiments, the video game controller
  the game of skill based on the progress of the game. In                 comprises a pointing device including, by way of non
  further embodiments, a faster player pace is achieved                   limiting examples, a gamepad, a paddle, a joystick, a track
  through “rage quit,” wherein a player chooses to quit a game       65   ball, a throttle quadrant, a steering wheel, a yoke, pedals, a
  of skill at any time to move to a next game of skill. In further        keyboard, a mouse, a touch screen, a motion sensor, a light
  embodiments, a faster player pace is achieved through “paid             gun, a rhythm game controller, a console game controller.
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      In some embodiments, the video game controller com                  ers sit or stand to play and gamble with gaming sessions. In
   prises a touch screen or a multi-touch screen. In other                Some embodiments, the Carousel version gaming machine
   embodiments, the video game controller comprises a micro               allows players to sit or stand next to each other. In some
   phone to capture Voice or other Sound input. In other                  embodiments, the Carousel version gaming machine allows
   embodiments, the video game controller comprises a video               players to sit or stand side-by-side to each other. In some
   camera or other sensor to capture motion or visual input. In           embodiments, the Carousel version gaming machine allows
   further embodiments, the video game controller comprises a             players to sit or stand facing each other.
   Kinect, Leap Motion, or the like. In still further embodi                 In some embodiments, the Carousel version gaming
   ments, the video game controller comprises a combination               machine allows multiple players to play single-player games
   of devices such as those disclosed herein.                        10   respectively. In some embodiments, the Carousel version
      Referring to FIG. 2, in a particular embodiment, a com              gaming machine allows multiple players to play multiple
   mercial USB controller is used as a suitable video game                player games respectively. In some embodiments, the Car
   controller which has been designed for the simplest possible           ousel version gaming machine allows multiple players to
   operation by players of all skill levels. In further embodi            play within the same multiple-player environment. In further
   ments, this video game controller includes four controls: a       15   embodiments, the Carousel version gaming machine allows
   left joystick for steer, a “X” button for gas, a “Y” button for        multiple players playing in the same game environment to
   restart, and an 'A' button for brake.                                  play head-to-head against each other. In further embodi
   Gaming Machine Facades                                                 ments, the Carousel version gaming machine allows mul
     In some embodiments, the gaming machine includes one                 tiple players playing in the same game environment to play
   or more facades. In further embodiments, the gaming                    at the same time but not against each other. Referring to FIG.
   machine comprises external facades that are reversibly                 21, in a particular embodiment, a prototype Carousel version
   applied to a plurality of external Surfaces of the gaming              gaming machine is provided to allow multiple players to
   machine. In still further embodiments, the external facades            play and gamble with game sessions.
   are magnetically reversibly applied.                                      In some embodiments, the Carousel version gaming
   Leaderboard                                                       25   machine comprises a 3-unit carousel pod. In some embodi
     In some embodiments, the methods, systems, and media                 ments, the Carousel version gaming machine comprises a
   described herein include a leaderboard, or use of the same.            5-unit carousel pod. In various embodiments, the Carousel
   In some embodiments, each video game gaming machine                    version gaming machine comprises 2, 4, 6, 7, 8, 9, 10-unit
   (VGM) or cluster of VGMs units features a leaderboard. In              carousel pods. Referring to FIGS. 22-23, in a particular
   Some embodiments, players enter their 'gamertag’’ or other        30   embodiment, a 3-unit pod Carousel version gaming machine
   pseudonym to privately identify themselves on the leader               is displayed with its top-view and side view. Referring to
  board.                                                                  FIGS. 24-25, in a particular embodiment, a 5-unit pod
     In some embodiments, leaderboards are connected to                   Carousel version gaming machine is displayed with its
   social networks such as Facebook and Twitter. In some                  top-view and side view.
   embodiments, leaderboards are used to track player prog           35      In some embodiments, the Carousel version gaming
   ress, drive an additional competitive element, and to provide          machine comprises cabinets, carousels, fillers, and/or spac
   methods for awarding additional prizes, bonuses and jack               ers. Referring to FIG. 26, in a particular embodiment, a front
   pots.                                                                  view of a filler is described for a Carousel version gaming
   Bonuses and Jackpots                                                   machine. Referring to FIG. 27, in a particular embodiment,
     In some embodiments, the methods, systems, and media            40   a three-dimensional view of the filler is shown and detailed
   described herein include bonuses and jackpots, or use of the           design features and parameters of the filler are described.
   same. In some embodiments, casinos offer additional                      Referring to FIG. 28, in a particular embodiment, a
  bonuses and rewards to player activity when a video game                three-dimensional view of an individual cabinet of a Car
  gaming machines is limited to modest bets and returns. In               ousel version gaming machine is shown wherein the top,
  Some embodiments, players in a VGM win food and lodging            45   back, side main and side footwell views are all displayed
  from casinos, or prizes from brands and advertisers, or                 with respective design parameters. Referring to FIG. 29, in
  additional cash payouts, progressives, and other forms of               a particular embodiment, a custom signage of an individual
  bonuses and jackpots based on leaderboard Standings or                  cabinet of a Carousel version gaming machine is shown to
   other factors.                                                         have its particular design parameters.
  Multiplayer Games                                                  50   Non-Transitory Computer Readable Storage Medium
     In some embodiments, the methods, systems, and media                    In some embodiments, the methods, systems, and media
  described herein include multiplayer games, or use of the               disclosed herein include one or more non-transitory com
  same. In some embodiments, multiplayer games allow mul                  puter readable storage media encoded with a program
  tiple players to compete simultaneously and competitively               including instructions executable by the operating system of
  against each other in a secure and regulatory-compliant            55   an optionally networked digital processing device. In further
  format. In some embodiments, multiplayer games are simi                 embodiments, a computer readable storage medium is a
  lar to multiplayer video poker or blackjack machines cur                tangible component of a digital processing device. In still
  rently in casinos.                                                      further embodiments, a computer readable storage medium
  Carousel Version Gaming Machine                                         is optionally removable from a digital processing device. In
     In some embodiments, the methods, systems, and media            60   Some embodiments, a computer readable storage medium
  described herein include a Carousel version gaming                      includes, by way of non-limiting examples, CD-ROMs,
   machine, or use of the same. In some embodiments, the                  DVDs, flash memory devices, Solid state memory, magnetic
  Carousel version gaming machine provides a multiple                     disk drives, magnetic tape drives, optical disk drives, cloud
  player playing environment wherein a player sits or stands              computing systems and services, and the like. In some cases,
  to play and gamble with gaming sessions. In some embodi            65   the program and instructions are permanently, Substantially
  ments, the Carousel version gaming machine provides a                   permanently, semi-permanently, or non-transitorily encoded
  multiple-player playing environment wherein multiple play               on the media.
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  Computer Program                                                         embodiments, a web application includes a media player
     In some embodiments, the methods, systems, and media                  element. In various further embodiments, a media player
  disclosed herein include at least one computer program, or               element utilizes one or more of many Suitable multimedia
  use of the same. A computer program includes a sequence of               technologies including, by way of non-limiting examples,
  instructions, executable in the digital processing device's         5    Adobe R. Flash R, HTML 5, Apple(R). QuickTimeR, Micro
  CPU, written to perform a specified task. Computer readable              soft(R) Silverlight(R), JavaTM, and Unity(R).
  instructions may be implemented as program modules. Such                 Mobile Application
  as functions, objects, Application Programming Interfaces                   In some embodiments, a computer program includes a
  (APIs), data structures, and the like, that perform particular           mobile application provided to a mobile digital processing
  tasks or implement particular abstract data types. In light of      10   device. In some embodiments, the mobile application is
  the disclosure provided herein, those of skill in the art will           provided to a mobile digital processing device at the time it
  recognize that a computer program may be written in                      is manufactured. In other embodiments, the mobile appli
  various versions of various languages.                                   cation is provided to a mobile digital processing device via
     The functionality of the computer readable instructions               the computer network described herein.
  may be combined or distributed as desired in various envi           15      In view of the disclosure provided herein, a mobile
  ronments. In some embodiments, a computer program com                    application is created by techniques known to those of skill
  prises one sequence of instructions. In some embodiments,                in the art using hardware, languages, and development
  a computer program comprises a plurality of sequences of                 environments known to the art. Those of skill in the art will
  instructions. In some embodiments, a computer program is                 recognize that mobile applications are written in several
  provided from one location. In other embodiments, a com                  languages. Suitable programming languages include, by
  puter program is provided from a plurality of locations. In              way of non-limiting examples, C, C++, C#, Objective-C,
  various embodiments, a computer program includes one or                  JavaTM, Javascript, Pascal, Object Pascal, PythonTM, Ruby,
  more software modules. In various embodiments, a com                     VB.NET, WML, and XHTML/HTML with or without CSS,
  puter program includes, in part or in whole, one or more web             or combinations thereof.
  applications, one or more mobile applications, one or more          25     Suitable mobile application development environments
  standalone applications, one or more web browser plug-ins,               are available from several sources. Commercially available
  extensions, add-ins, or add-ons, or combinations thereof.                development environments include, by way of non-limiting
  Web Application                                                          examples, AirplaySDK, alcheMo, Appcelerator(R), Celsius,
     In some embodiments, a computer program includes a                    Bedrock, Flash Lite, NET Compact Framework, Rhomobile,
  web application. In light of the disclosure provided herein,        30   and WorkLight Mobile Platform. Other development envi
  those of skill in the art will recognize that a web application,         ronments are available without cost including, by way of
  in various embodiments, utilizes one or more software                    non-limiting examples, Lazarus, MobiFlex, MoSync, and
  frameworks and one or more database systems. In some                     Phonegap. Also, mobile device manufacturers distribute
  embodiments, a web application is created upon a software                Software developer kits including, by way of non-limiting
  framework such as Microsoft(R) NET or Ruby on Rails                 35   examples, iPhone and iPad (iOS) SDK, Android TM SDK,
  (RoR). In some embodiments, a web application utilizes one               BlackBerry(R) SDK, BREW SDK, PalmR OS SDK, Sym
  or more database systems including, by way of non-limiting               bian SDK, webOS SDK, and Windows(R) Mobile SDK.
  examples, relational, non-relational, object oriented, asso                 Those of skill in the art will recognize that several
  ciative, and XML database systems. In further embodiments,               commercial forums are available for distribution of mobile
  Suitable relational database systems include, by way of             40   applications including, by way of non-limiting examples,
  non-limiting examples, Microsoft(R) SQL Server, mySQLTM,                 Apple.R. App Store, AndroidTM Market, BlackBerry R. App
  and Oracle(R). Those of skill in the art will also recognize that        World, App Store for Palm devices, App Catalog for webOS,
  a web application, in various embodiments, is written in one             Windows(R Marketplace for Mobile, Ovi Store for Nokia(R)
  or more versions of one or more languages. A web appli                   devices, Samsung R. Apps, and Nintendo(R DSi Shop.
  cation may be written in one or more markup languages,              45   Standalone Application
  presentation definition languages, client-side Scripting lan                In some embodiments, a computer program includes a
  guages, server-side coding languages, database query lan                 standalone application, which is a program that is run as an
  guages, or combinations thereof. In some embodiments, a                  independent computer process, not an add-on to an existing
  web application is written to some extent in a markup                    process, e.g., not a plug-in. Those of skill in the art will
  language such as Hypertext Markup Language (HTML).                  50   recognize that standalone applications are often compiled. A
  Extensible Hypertext Markup Language (XHTML), or                         compiler is a computer program(s) that transforms source
  eXtensible Markup Language (XML). In some embodi                         code written in a programming language into binary object
  ments, a web application is written to Some extent in a                  code such as assembly language or machine code. Suitable
  presentation definition language Such as Cascading Style                 compiled programming languages include, by way of non
  Sheets (CSS). In some embodiments, a web application is             55   limiting examples, C, C++, Objective-C, COBOL, Delphi,
  written to some extent in a client-side Scripting language               Eiffel, JavaTM, Lisp, PythonTM, Visual Basic, and VB.NET,
  such as Asynchronous Javascript and XML (AJAX), FlashR)                  or combinations thereof. Compilation is often performed, at
  Actionscript, JavaScript, or Silverlight. In some embodi                 least in part, to create an executable program. In some
  ments, a web application is written to Some extent in a                  embodiments, a computer program includes one or more
  server-side coding language Such as Active Server Pages             60   executable complied applications.
  (ASP), ColdFusion(R), Perl, JavaTM, JavaServer Pages (JSP),              Web Browser Plug-in
  Hypertext Preprocessor (PHP), PythonTM, Ruby, Tcl, Small                    In some embodiments, the computer program includes a
  talk, WebDNAR, or Groovy. In some embodiments, a web                     web browser plug-in. In computing, a plug-in is one or more
  application is written to some extent in a database query                Software components that add specific functionality to a
  language Such as Structured Query Language (SQL). In                65   larger Software application. Makers of Software applications
  Some embodiments, a web application integrates enterprise                Support plug-ins to enable third-party developers to create
  server products such as IBM(R) Lotus Domino(R). In some                  abilities which extend an application, to Support easily
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  adding new features, and to reduce the size of an application.         machines in one location. In other embodiments, software
  When Supported, plug-ins enable customizing the function               modules are hosted on one or more machines in more than
  ality of a Software application. For example, plug-ins are             one location.
  commonly used in web browsers to play video, generate                  Databases
  interactivity, Scan for viruses, and display particular file             In some embodiments, the methods, systems, and media
  types. Those of skill in the art will be familiar with several         disclosed herein include one or more databases, or use of the
  web browser plug-ins including, Adobe R. Flash R. Player,              same. In view of the disclosure provided herein, those of
  Microsoft(R) Silverlight(R), and Apple(R). QuickTime(R). In            skill in the art will recognize that many databases are
  Some embodiments, the toolbar comprises one or more web                Suitable for storage and retrieval of player and game infor
                                                                    10   mation. In various embodiments, Suitable databases include,
  browser extensions, add-ins, or add-ons. In some embodi
   ments, the toolbar comprises one or more explorer bars, tool          by way of non-limiting examples, relational databases, non
  bands, or desk bands.                                                  relational databases, object oriented databases, object data
     In view of the disclosure provided herein, those of skill in        bases, entity-relationship model databases, associative data
  the art will recognize that several plug-in frameworks are             bases, and XML databases. In some embodiments, a
                                                                    15   database is internet-based. In further embodiments, a data
  available that enable development of plug-ins in various               base is web-based. In still further embodiments, a database
  programming languages, including, by Way of non-limiting               is cloud computing-based. In other embodiments, a database
  examples, C++, Delphi, JavaTM, PHP, PythonTM, and VB                   is based on one or more local computer storage devices.
   .NET, or combinations thereof.
     Web browsers (also called Internet browsers) are software                                    EXAMPLES
  applications, designed for use with network-connected digi
  tal processing devices, for retrieving, presenting, and tra              The following illustrative examples are representative of
  versing information resources on the World Wide Web.                   embodiments of the Software applications, systems, and
  Suitable web browsers include, by way of non-limiting                  methods described herein and are not meant to be limiting in
  examples, Microsoft(R) Internet Explorer R, Mozilla R. Fire       25   any way.
  fox R, Google(R) Chrome, Apple(R) Safari (R, Opera Soft
  ware(R) Opera R, and KDE Konqueror. In some embodi                                              Example 1A
   ments, the web browser is a mobile web browser. Mobile
  web browsers (also called mircrobrowsers, mini-browsers,                              General Rules of a Race Game
  and wireless browsers) are designed for use on mobile             30
  digital processing devices including, by way of non-limiting              A video game gaming machine (VGM) provides players
  examples, handheld computers, tablet computers, netbook                the flexibility of playing/gaming on any popular video
  computers, Subnotebook computers, Smartphones, music                   games. Such as a racing game, a fighting game, a first person
  players, personal digital assistants (PDAs), and handheld              shooter (FPS) game, or a massively multiplayer online
  video game systems. Suitable mobile web browsers include,         35   role-playing game (MMORPG). In one example, a player is
  by way of non-limiting examples, Google R. Android R.                  playing a race game on a video game gaming machine
  browser, RIM BlackBerry(R) Browser, Apple(R) Safari R,                 wherein his payout outcome depends on his best track time.
   Palm R. Blazer, PalmR) WebOSR) Browser, Mozilla(R) Fire                  In this race game, the player is racing on a track to achieve
   fox(R) for mobile, Microsoft(R) Internet Explorer(R) Mobile,          the best time. The player is able to restart at the beginning
   Amazon R. KindleR Basic Web, Nokia R. Browser, Opera             40   of the track at any time and has 60 seconds to post the best
   Software R Opera R. Mobile, and Sony(R) PSPTM browser.                time. The player receives a payout based on their best time.
   Software Modules                                                      It is a multiplayer racing game in which each player is
     In some embodiments, the methods, systems, and media                represented as a “ghost' to other racers. Players are not able
   disclosed herein include software, server, and/or database            to influence other racers, i.e., knock into other cars. This
   modules, or use of the same. In view of the disclosure           45   “single player game in a multiplayer environment is a
   provided herein, Software modules are created by techniques           critical aspect of the competition and enjoyment in Race
   known to those of skill in the art using machines, software,          Game.
   and languages known to the art. The Software modules                     For Such a race game, for example, a general rule is that
   disclosed herein are implemented in a multitude of ways. In           a player has 60.0 seconds to post their optimum track time.
   various embodiments, a Software module comprises a file, a       50   The player may make multiple attempts for optimum track
   Section of code, a programming object, a programming                  time in allowed 60.0 seconds, and the race game stops
   structure, or combinations thereof. In further various                immediately once the 60.0 seconds timer has expired. In
   embodiments, a software module comprises a plurality of               addition, any laps in progress are forfeited. The player's car
   files, a plurality of sections of code, a plurality of program        starts at the tracks start line. On commencement, the car
   ming objects, a plurality of programming structures, or          55   moves forward at constant Velocity. Then the player gets to
   combinations thereof. In various embodiments, the one or              control the car using video game controller. The player is
   more software modules comprise, by way of non-limiting                able to move forward, move forward/left, or forward/right.
   examples, a web application, a mobile application, and a              Game play ends immediately after 60.0 seconds. Game also
   standalone application. In some embodiments, software                 ends if player achieves optimum track time that gives him
   modules are in one computer program or application. In           60   the Maximum Available Payout.
   other embodiments, software modules are in more than one                 This race game uses a very simple, fixed Paytable with
   computer program or application. In some embodiments,                 different potential distributions of outcomes. Referring to
   Software modules are hosted on one machine. In other                  FIG. 3, in a particular embodiment, this race game uses a
   embodiments, Software modules are hosted on more than                 very simple, fixed Paytable with five (5) potential Payout
   one machine. In further embodiments, software modules are        65   Levels. Each payout is defined based on the minimum time
  hosted on cloud computing platforms. In some embodi                    the player must score to receive the corresponding award.
   ments, software modules are hosted on one or more                     For example, a player achieves a payout of 3.0 (based on
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  wager of 1 credit) when he finishes the track on or below               for a race game. For this race game, Return To Player is
  14.00 seconds. In turn, he gets paid 2 credits when his best            calculated as the sum of the multiplication of the payout of
  track time is between 14.01 and 14.05 seconds. He gets paid             each distribution line and the chance of the appearance of
  nothing if he finishes the track in more than 14.20 seconds             each distribution line.
  or he doesn’t finish the track within the set time (60.0                  Track Group/Distribution 1—the Best Possible Time on
  seconds in this case).                                                  this Tracks 14.00
                                                                             Chance Weighting 5%/Optimum Finish Times 14.00
                          Example 1B                                         Players will receive a Track Group/Distribution 1 track
                                                                          5% of the time. The optimum finish time for this distribution
          Track Creation and Choosing of a Race Game                 10
                                                                          is s14.00, resulting in a payout of 3. Players may potentially
     When a player plays this race game, he is presented a race           receive the payout for distributions 1, 2, 3, 4, or 5 depending
                                                                          on their actual results.
  track randomly chosen from a huge pool of race maps and                   Track Group/Distribution 2 the Best Possible Time on
  tracks. In addition, the creation of tracks and choice of a             this Track is 14.01
  track are done to reflect the optimum path length, optimum         15
                                                                            Chance Weighting=10%/Optimum Finish Time >14.01 &
  track time and different needs of Return To Player payout               s14.05
  percentage.
      Each race takes places on a track created using a design,              Players will receive a Track Group/Distribution 2 track
  filter, and test methodology. Tracks are designed from a                10% of the time. The optimum finish time for this distribu
  defined pool of elements or symbols. Each track is designed             tion is between 14.01 and 14.05, resulting in a payout of 2.
  Such that the optimum path length and finish time of each               Players may potentially receive the payout for distributions
  total assembly of track symbols is within the range for each            2, 3, 4, or 5, depending on their actual results.
  track distribution. Track assemblies are algorithmically                   Track Group/Distribution 3—the Best Possible Time on
  tested and filtered to remove tracks that do not exactly                this Track is 14.05
  conform to the specified optimum path lengths. Track               25     Chance Weighting 25%/Optimum Finish Time >14.05 &
  assemblies that pass the automated testing/filtering will then          s14.10
  be tested qualitatively by humans. Ultimately, all included                Players will receive a Track Group/Distribution 3 track
  tracks will correspond to the five Payout Levels noted in the           25% of the time. The optimum finish time for this distribu
  Paytable above.                                                         tion is between 14.05 and 14.10, resulting in a payout of 1.
      Regardless of the track, the Paytable will remain fixed.       30   Players may potentially receive the payout for distributions
  Although every map will be created so that the player feels             3, 4, or 5, depending on their actual results.
  as if they’re able to achieve the top prize, sometimes it is not           Track Group/Distribution 4 the Best Possible Time on
  possible for the player to achieve every outcome for any                this Track is 14.11
  particular map. Importantly, every track will be designed to              Chance Weighting 30%/Optimum Finish Time >14.10 &
  afford the player the best possible chance of racing the           35   s14.20
  optimum track time and receiving the top payout for that                   Players will receive a Track Group/Distribution 4 track
  given track. The actual balance of track outcomes will be               30% of the time. The optimum finish time for this distribu
  defined by the Return To Player for that particular game and            tion is between 14.11 and 14.20, resulting in a payout of 0.5.
  driven by a random number generator.                                    Players may potentially receive the payout for distributions
      Race Game utilizes an industry-standard random number          40   4 or 5 only, depending on their actual results.
  generator (RNG) to randomly choose the track for each race.                Track Group/Distribution 5—the Best Possible Time on
   In some embodiments, a first random number is used to                  this Track is >14.20
  choose the Payout Level. This will determine the Maximum                   Chance Weighting 30%/Optimum Finish Time >14.20
  Available Payout for the given game session if the player is               Players will receive a Track Group/Distribution 5 track
  able to achieve the optimum finish time on the specific track.     45   30% of the time. The optimum finish time for this distribu
  A second random number is used to choose the specific map               tion is above 14.20, resulting in a payout of 0. Players may
  from the group of maps with the designated Payout Level.                only receive the payout for distribution 5, i.e., 25% of tracks
  Race Game contains a very large total number of tracks Such             will result in Zero payout.
  that any player is highly unlikely to repeat the same track               Therefore, the eRTP of the distribution table in this FIG.
   eVe.                                                              50   4 is calculated as =35%+2*10%+125%+0.530%-
                                                                          O*30%=75%.
                            Example 1C                                       Furthermore, referring to FIGS. 6-8, in particular embodi
                                                                          ments, tables with 75%, 85% & 90% eRTP are respectively
           Managing Return to Player in a Race Game                       provided by adjusting the appearing chances of track groups
                                                                     55   with different optimum finish time. Accordingly, other eRTP
     This race Game includes a fixed Paytable in an effort to             is achieved using the equation with different combination of
  provide a clear and concise goal for all players. Irrespective          track groups and their appearing chances.
  of the track in which a player is racing they will always be
  awarded the same prize for finishing within the same time                                       Example 1D
  distribution. As the eRTP (expected Return To Player)              60
  percentage must be based on optimum play it must be said                            Theoretical Model of a Race Game
  that not every track will allow players to finish in the top
  prize distribution. In fact, some tracks must ensure players              The math model in this race game includes a fixed
  finish outside of any prize distributions. These tracks are             Paytable providing a clear and concise goal for all players.
   said to be unbeatable.                                            65   Irrespective of the track in which a player is racing they are
     Referring to FIG. 4, in a particular embodiment, a table is          awarded the same prize for finishing within the same time
   provided to provide a 75% eRTP based on a game Paytable                distribution.
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     As the eRTP (expected Return To Player) percentage must              game. The name of the track is a user defined label to help
  be based on optimal play, not every track allows players to             identify the track. The distribution name is the distribution
  achieve the Maximum Available Payout. Some tracks pro                   range the track is a Subset of and is determined by the tracks
  vide no opportunity for the player to earn any payout. These            optimal time value. The optimal time is calculated based on
  tracks are said to be unbeatable. Player perception and                 the configuration of track elements which are arrayed in
  experience is managed across all track types. A player feels            sequence, from the starting element “S” to the finish element
  the top payout is achievable through optimal play. Using a              “F” to form the actual design of the track. The shortest path
  combination of tracks of varying difficulty, player skill, and          algorithm used is in parallel with the software simulator.
  random bonuses, the math model manages the game out                        While preferred embodiments of the present invention
  come and the optimal Return To Player.                             10
                                                                          have been shown and described herein, it will be obvious to
     Referring to FIG. 5, in a particular embodiment, a math              those skilled in the art that such embodiments are provided
  model of a race game is described wherein a diagram                     by way of example only. Numerous variations, changes, and
  displays a player's payout outcome based on his actual finish           substitutions will now occur to those skilled in the art
  time while playing in different track groups of race games.             without departing from the invention. It should be under
  This game design (specifically the weightings for eRTP)            15
                                                                          stood that various alternatives to the embodiments of the
  relies on the concept of optimum play. In short, optimum
  play specifies that eRTP be calculated assuming the player              invention described herein may be employed in practicing
  performs optimally and therefore receives the Maximum                   the invention.
  Available Payout while playing each game.                                                        Example 2A
     In the case of this race game, the requirement for optimum
  play means that eRTP must be calculated assuming a player
  achieves the optimum finish time for each track. For                        General Mechanics of a First Person Shooter (FPS)
  example, if the player randomly receives a Track Group/                                              Game
  Distribution 1 track, eRTP is calculated based on an opti
  mum finish times 14.00 and a payout of 3. And if the player        25      In another example not illustrated, a player tries to control
  randomly receives a Track Group/Distribution 2 track, eRTP              the path of a virtual projectile so that a designated number
  is calculated based on an optimum finish times 14.05 and a              of targets is each hit by a projectile a designated number of
  payout of 2. Not every track allows players to finish in the            times. In some embodiments, a given target only requires a
  top payout. In fact Track Group/Distribution 5 tracks ensure            single hit in order to count towards the Key Scores. In some
  players finish outside of any and receive Zero payout.             30   other embodiments, a given target requires two or more hits
     Not every track allows the player to achieve the Maxi                in order to counts towards the Key Scores. In some embodi
  mum Available Payout. But the game is designed to help the              ments, different targets have different minimum hits
  player receive the Maximum Available Payout possible for                required. In certain variation, the number of hits required for
  each track. This is a radical shift in game design for both slot        a given target is known to the player. In certain variations,
  machines and video games. This math model allows players           35   the number of hits required for a given target is unknown to
  to win the Maximum Available Payout possible. Tracks are                the player. In some embodiments, all targets appear the
  designed to balance the challenge of competition with the               same. In some embodiments, all targets have the same
  rush of winning. Players win much more often than a                     general appearance except for size and possibly lighting, in
  traditional reel slot machine.                                          order to imply varying distance from the player. In come
                                                                     40   embodiments, a first target has a significantly different
                           Example 1E                                     appearance from a second target. In some embodiments, no
                                                                          target changes position relative to the background. In some
        Proving Optimum Finish Time in a Race Game                        embodiments, at least one target changes position relative to
                                                                          the background.
      In a race game, there is an optimum path on a racetrack.       45      In some embodiments, the point of view of the player
   This is the best possible “line' the driver and car can                does not change during the play of the game. In some
   navigate given the physics of the world and the skill of the           embodiments, the player is able to pan their point of view
   driver. This optimum path can be computed using pathfind               horizontally and/or vertically. In some embodiments, the
   ing algorithms such as Dijkstra's Algorithm and the A*                 player is able to laterally shift their point of view typically
   Algorithm.                                                        50   along the X-axis of the same Z-plane. In some embodiments,
      The race game engineers a software simulator to prove the           the player is able to shift their point of view in two or more
  theoretical and mathematical models outlined above. This                axis of movement, Such as being able to move their position
   Software simulator is designed to visualize tracks and out             within a virtual 3d target field. In some embodiments, the
   comes as described for the race Game. The software is an               view from a specific position does not vary. In some other
  implementation of a shortest path algorithm, specifically          55   embodiments, a first view from a specific position is differ
  tailored to using graphs created from state-transition tables.          ent from a second view from the same position. In some
  The Software applies a path finding algorithm to determine              variations, this is due to the simulation of viewing though a
  optimum play in a game.                                                 telescopic device. In some such telescopic view simulations,
     In the simplest sense, referring to FIG.9, each segment of           there is only one magnification available. In some other Such
  a track can be converted into spots or cells whereby each cell     60   telescopic view simulations, there is more than one magni
  takes one (1) second to traverse. The following table outlines          fication available. In some embodiments, a first view is
  the basic elements of a track including; Start, Finish,                 association with the selection of a first projectile, while a
  Straight, Left Corner, and Right Corner.                                second view is associated with selection of a second pro
     Furthermore, referring to FIGS. 10-14, in particular                 jectile. For example, the view displayed when a virtual
  embodiments, these tables outline examples of theoretical          65   sniper rifle is the selected as the source of the next projectile
  tracks in Distributions 1-5, respectively. Each table repre             is different from the view displayed with a virtual rocket
  sents a single complete and unique playable track in the                launcher is selected as the source of the next projectile.
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     In some embodiments, there are no obstructions between                targets. The Smallest target awards 5 points, the medium-size
  the source of the projectile and all available targets. Is Some          target award 4 points and the largest target awards 3 points
  embodiments, a first target may partially or completely                  when hit. The largest target requires 2 hits anywhere on the
  block the view of a second target. In some embodiments,                  target to knock down. The medium size target is knocked
  other visual elements in the game may partially or com              5    down with a single hit, but only if the hit occurs on a
  pletely block the view of a target which is otherwise located            bullseye marked portion of the medium-sized target. The
  within the confines of the visible play field. In some varia             Smallest target is knocked down with a single hit anywhere.
  tions, changes in the player's view, whether by panning                     The type and number of moving targets varies per target
  and/or by shifting position, change the visibility of targets
  within the confines of the visible play field.                           field. Also varying are the size and number of blocking
     In some embodiments the player has a limited number of
                                                                      10   elements, namely pig targets and cow targets that only serve
  projectiles. In some other embodiments, the player has an                as projectile blockers.
  unlimited number of projectiles. In some embodiments, the                   The player manipulates X-Y controls to move an onscreen
  player can only fire or launch a projectile if it is guaranteed          rifle-scope reticle icon which indicates point of aim, and
  to hit a target. In some embodiments, the player can fire or             presses a different control to shoot. If the reticle is not
  launch a projectile which does not hit any designated targets.      15   aligned with a target at the instant the shot is initiated, then
  In some embodiments, all projectiles have the same char                  the shot is a miss. Panning and position shifting are not
  acteristics. In some other embodiments, a first projectile has           available.
  at least one characteristic different from a second projectile             At the end of play, if the player has attained a certain
  available in the game. For example, a first projectile can               number of points or higher, the player wins a payout defined
  score a different hit count on a given target than a second              by the Paytable.
  projectile. In some variations, the quantity and ordering of
  first projectiles and second projectiles is the same from game                                    Example 2C
  to game. In some other variations, the quantity and/or
  ordering of first projectiles and second projects is not                                     3d Shooter Example
  guaranteed to be the same from game to game. In some                25
  variations, the player can select whether to fire or launch a               Player is given 30 seconds to knock down as many enemy
  first projectile or a second projectile. In some other varia             figures as possible. There are six different looking enemy
  tions, the player has no control on the selection of projec              figures that can appear. The number of hits required for a
  tiles.
     In some embodiments, there is no significant time delay               given enemy figure is randomly selected when the enemy
  between the player initiating the firing or launching of a          30   figure is initialized relative to a weighted table of hit
  projectile and the corresponding effect, whether that be a               thresholds for that type of enemy figure.
  target hit or target miss. In some embodiments, there is a                  The type, number, arrival and positioning of enemy
  significant enough time delay between the player initiating              figures varies per target field. This includes the number of
  the firing or launching of a projectile and the corresponding            enemy figures present within any particular area of the play
  effect, whether that be a target hit or target miss, that the       35   field and the timing of the appearance of enemy figures.
  motion of target relative to the view, whether due to a target              The player manipulates X-Y controls to move an onscreen
  changing position relative to the background, or the view                rifle-scope reticle icon which indicates point of aim, and
  changing relative to the background, or both, can affect                 presses a different control to shoot. The potential target area
  whether or not a hit is attained. In some embodiments with               is much wider than is shown at any one time. The player
  projectile travel delays, all projectiles travel at the same        40   manipulates a left-right control to shift the view position
  speed. In some embodiments with projectile delays, a first               accordingly. View shifting also changes parallax between
  projectile travels at a first speed while a second projectile            mid-ground elements and targets such that a given target
  travels at a second speed.                                               may not be fully visible at every screen position,
     In some embodiments, projectiles always travel an ideal                  At the end of play, if the player has attained a certain
  ized Straight path. In some embodiments, projectiles travel         45   number of downed enemy targets or higher, the player wins
  in a non-linear path Such as a parabolic path to simulate the            a payout defined by the Paytable.
  effect of gravity, or such as a complex path to simulate the
  effects of gravity and friction. In some embodiments, pro                                         Example 2D
  jectiles never experience changes in path due to simulated
  wind or other environmental factors. In some embodiments,           50                       Target Field Selection
   simulated wind or other environmental factors affect the
  positioning of a projectile's path. For example, a simulated
  cross wind which produces a windage effect on the point of                  When a player plays a first person shooter game, a
  projectile input. In some embodiments, simulated wind or                 pre-created target field is randomly selected. Each Such
  other environmental factors affect the length of the projec              target field has an optimal way of Scoring as many hits as
  tile's path. For example, a simulated head wind which slows         55   possible for the given set of targets, blockers and their
  a projectile or a simulated tail win that speeds up a projectile.        relative positioning.
  In some embodiments, the designated point of aim only                       Each target field is created using a design, filter, and test
  changes based on player input. In some other embodiments,                methodology. Target fields are designed from a defined pool
  the designated point of aim changes without player input,                of elements or symbols. Each target field is designed Such
  such as to simulate real-world wobble of the aiming device.         60   that the optimum targeting behavior is within the required
                                                                           range Target field are algorithmically tested and filtered to
                           Example 2B                                      remove tracks that do not exactly conform to the specified
                                                                           optimal hit results. Target field that passes the automated
                Shooting Ducks Arcade Example                              testing/filtering will then be tested qualitatively by humans.
                                                                      65      Regardless of the target field, the Paytable will remain
     Player is given 30 seconds to knock down as many                      fixed. Although every target field will be created so that the
   moving ducks as possible. There are three different sized               player feels as if they’re able to achieve the top prize,
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                               43                                                                          44
   sometimes it is not possible for the player to achieve every                 i) a first random number used to choose a Playfield
   outcome for any particular target field.                                        from the Playfield Selection Pool, wherein the Play
                                                                                   field is set to have a Maximum Available Payout; and
                           Example 2E                                           ii) a second random number used to choose a specific
                                                                                   game session from the already chosen Playfield;
                    Managing Return to Player                                c. evaluating and recording, by the gaming machine, the
                                                                                results of the play of the said game session in the said
    A player who plays perfectly will obtain the highest Key                    Playfield;
  Score available within each target field, which does not                   d. presenting, by the gaming machine, a Paytable to the
  always correspond to the Key Score required to win the top         10         player, wherein the Paytable comprises one or more
  award listed in the Paytable. Therefore, the weighted distri                  lines of payouts corresponding to play results;
  bution of the selection of target fields is constructed to                 e. evaluating and distributing, by the gaming machine,
  generate the desired long term expected eRTP.                                 any payout earned according to the best play results and
        eRTP(total)=maxPayout(targetField1)*probability
                                                                                the Paytable; and
             (targetField1Selection)+maxPayout(targetField2)         15      f. managing, through the gaming machine, the variance of
             *probability (targetField2Selection)+...+max                       Return To Player (RTP) of the Paytable, by adjusting
             Payout(targetFieldN)*probability                                   selection weights of different Playfields presented to a
             (targetFieldNSelection)                                            player, wherein different Playfields relate to respective
     Many players will make mistakes and Sub-optimal                            Maximum Available Payouts.
  choices significant enough to prevent them from earning the                2. The method of claim 1, wherein the player plays the
  highest winnable prize for the given target field. In order to          game via a game controller.
  keep lower-skill players from losing too much RTP, addi                    3. The method of claim 2, wherein the game controller
  tional Sources of payout which are based on player's lack of            comprises one or more of a gamepad, a paddle, a joystick,
  skill are incorporated into the game.                                   a trackball, a throttle quadrant, a steering wheel, a yoke,
     In some embodiments, a player is occasionally awarded           25   pedals, a keyboard, a mouse, a touch screen, a motion
  additional payouts relative to his/her actual Key Score                 sensor, a light gun, a rhythm game controller, a console
  within a game at one or more specific times. For example,               game controller.
  in the Duck Shooting sample game, actual Key Score would                   4. The method of claim 1, wherein the gaming machine
  be the points acquired at the time of checking. For the 3D              accepts initiation by two or more players, provides two or
  Shooter sample game, actual Key Score would be the                 30   more single-player game sessions, evaluates and records the
  number of enemy figures downed at the time of checking. In              results of the play of two or more game session, and
  Some embodiments, a player is occasionally awarded addi                 evaluates and distributes respective payouts to the two or
  tional payouts relative to his/her actual progress within a             more players.
  game at one or more specific times. For example, in the                    5. The method of claim 1, wherein the managing of the
  Duck Shooting sample game, actual progress would be                35   Return To Player variance is based on one or more of:
  determined based on the number of points earned and the                 mid-game metrics, Key Scores, non-Key Scores, end-of
  number of large-targets with one of the two required hits.              game results, the difference between actual Maximum Avail
  For the 3D Shooter sample game, actual Key Score would                  able Payouts and actual payouts, and the difference between
  be based on the number of enemy figures downed and the                  actual Maximum Attainable Key Scores and actual Key
  number of hits scored on still-standing enemy figures at the       40   Scores.
  time of checking. In some embodiments, a player is occa                    6. The method of claim 1, wherein the Return To Player
  sionally awarded additional payouts relative to his/her ancil           variance is managed by adjusting one or more of selection
  lary progress within a game at one or more specific times,              weights of at least one a first prize from a first variable-prize
  where said ancillary progress had a high correlation to                 selection pool, the frequency of a bonus award, the amount
  skillful play. For example, for the 3D shooter sample game,        45   of time available within a Play Session, and the number of
  ancillary progress could include: (a) number of total hits; or          player actions available with a Play Session.
  (b) average time between shots on the same target; or (c)                  7. The method of claim 1, wherein the adjusting of the
  average time between downing on target and placing first hit            Return To Player is applied to one or more of a current game
  on a different target; or the number of missed shots between            in progress and a future game.
  the first shot that hits a given target and the last shot that     50      8. The method of claim 1 wherein the gaming machine is
  downs same said target; or (d) any Suitable metric.                     a stand-alone unit.
                                                                             9. The method of claim 1 wherein the gaming machine is
     What is claimed is:                                                  connected to a central server system from which random
      1. A computer-implemented method of adapting games of               results are generated and communicated to the gaming
   skill into a gaming machine, wherein the method balances          55   machine.
   player skill, game challenges, and random elements to map                10. The method of claim 1 wherein the Maximum Avail
   a probable series of outcomes for all players, the method              able Payout is based upon the Maximum Attainable Key
   comprising:                                                            Score associated with each Playfield.
      a. accepting, through the gaming machine, initiation of                11. The method of claim 1 wherein the games in the
         play by a player,                                           60   Playfield Selection Pool comprise one or more games with
      b. providing, by the gaming machine, one or more single             a time limit.
         player games associated with a plurality of game                    12. The method of claim 11, wherein the games comprise
         parameters and having one or more features requiring             a racing game, wherein a player races on a track to achieve
         the application of video game skill by the player during         the best track time within a given timeframe.
         game play thereof, wherein the games are chosen from        65      13. The method of claim 12, wherein the racing game
         a Playfield Selection Pool using a random number                 comprises an optimum path on the racetrack and an opti
         generator, comprising:                                           mum track time along the optimum path.
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                                45                                                                       46
     14. The method of claim 1 wherein the games in the                          are chosen from a Playfield Selection Pool using a
  Playfield Selection Pool include at least one game with a                      random number generator, comprising:
  limit on the number of player actions allowed during game                      (A) a first random number used to choose a Playfield
  play.                                                                             from the Playfield Selection Pool, wherein the
     15. The method of claim 1 wherein the games in the                             Playfield is set to have a Maximum Available
  Playfield Selection Pool include at least one game with at                        Payout; and
  least one strategic skill decision required of the player.                     (B) a second random number used to choose a
     16. The method of claim 1, wherein the games comprise                          specific game session from the already chosen
  one or more of a maze game, a sports game, a spelling                             Playfield;
  game, a catching game, an avoiding game, a balancing             10
                                                                              iii) a software module configured to evaluate and
  game, a drawing game, a collecting game, a shooting game,                      record the results of the play of the said game session
  an exercise-based game, a role playing game, a casual game,                    in the said Playfield;
  a racing game, a fighting game, a first person shooting game,
  a massively multiplayer online role-playing game                            iv) a software module configured to present a Paytable
  (MMORPG), a side view projectile game, a top view                15            to the player, wherein the Paytable comprises one or
  projectile game, quartering view projectile game, or a mas                     more lines of payouts based on a player's play
  sively multiplayer online role-playing game, a matching                        results;
  game, a hidden object game, a word finding game, a word                     V) a software module configured to evaluate and dis
  construction game, a path game, a time-management game,                        tribute any payout earned according to the best play
  a resource management game, a plant growing game, an                           results and the Paytable; and
  animal raising game, a shape placing game, a pattern match                  Vi) a software module configured to manage the vari
  ing game, a rhythm matching game, a memory game, a color                       ance of Return To Player (RTP) of the Paytable, by
  completion game, a linking game, a virtual fishing game, an                    adjusting selection weights of different Playfields
  animal simulation game, and any suitable game of skill.                        presented to a player, wherein different Playfields
     17. The method of claim 1, wherein the gaming machine         25            relate to respective Maximum Available Payouts.
  is configured to accept a player's bet that a play result will           24. Non-transitory computer-readable storage media
  be achieved during the game session.                                  encoded with a computer program including instructions
     18. The method of claim 1, wherein the player makes                executable by a processor to create an application for
  extra bets during the game based on the progress of the               adapting games of skill into a gaming machine by balancing
   game.                                                           30   player skill, game challenges, and random elements to map
    19. The method of claim 1, wherein the player is provided           a probable series of outcomes for all players, the application
  with a single chance to achieve a specific Key Score during           comprising:
   a game session.                                                         a. a software module configured to accept initiation of
     20. The method of claim 1 wherein the gaming machine                     play by a player;
   awards the player additional time to complete the game          35      b. a software module configured to provide one or more
   session.                                                                   single-player games associated with a plurality of game
     21. The method of claim 20, wherein said additional time                 parameters and having one or more features requiring
  awarded is based upon the gaming machine determining, via                   the application of video game skill by the player during
  evaluation of mid-game progress, that the probability that                  game play thereof, wherein the games are chosen from
  the player earns less than the Maximum Available Payout          40         a Playfield Selection Pool using a random number
  without said additional time is greater than a preset prob                  generator, comprising:
   ability.                                                                   i) a first random number used to choose a Playfield
     22. The method of claim 1, wherein the player plays in a                    from the Playfield Selection Pool, wherein the Play
  practice mode with a small price without betting or returns.                   field is set to have a Maximum Available Payout; and
     23. A computer-implemented system for adapting games          45         ii) a second random number used to choose a specific
  of skill into a gaming machine by balancing player skill,                      game session from the already chosen Playfield;
  game challenges, and random elements to map a probable                   c. a software module configured to evaluate and record the
  Series of outcomes for all players, the system comprising:                  results of the play of the said game session in the said
     a. a gaming machine comprising at least one processor, an                Playfield;
        operating system configured to perform executable          50      d. a software module configured to present a Paytable to
        instructions, and a memory;                                           the player, wherein the Paytable comprises one or more
     b. a computer program including instructions executable                  lines of payouts based on a player's play results:
        by the at least one processor to create an application             e. a software module configured to evaluate and distribute
        comprising:                                                           any payout earned according to the best play results and
        i) a software module configured to accept initiation of    55         the Paytable; and
           play by a player;                                               f a software module configured to manage the variance of
        ii) a software module configured to provide one or                    Return To Player (RTP) of the Paytable, by adjusting
           more single-player games associated with a plurality               selection weights of different Playfields presented to a
           of game parameters and having one or more features                 player, wherein different Playfields relate to respective
           requiring the application of video game skill by the    60         Maximum Available Payouts.
           player during game play thereof, wherein the games                                  ck   ck   ck   ck   ck
